Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 1 of 76 PageID 3937




                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

         Plaintiffs,

  v.                                                 Case No. 8:19-cv-00710-MSS-TGW

  BRIGHT HOUSE NETWORKS, LLC

         Defendant.


           ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS TO
           FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL;
                        INJUNCTIVE RELIEF SOUGHT

         Defendant Bright House Networks, LLC (“Defendant” or “Bright House”) 1 by and through

  its counsel, hereby answers and asserts its affirmative defenses to the First Amended Complaint

  of Plaintiffs UMG Recordings, Inc., Capitol Records, LLC, Universal Music Corp., Universal

  Music – MGB NA LLC, Universal Music Publishing Inc., Universal Music Publishing AB,

  Universal Music Publishing Limited, Universal Music Publishing MGB Limited, Universal Music

  – Z Tunes LLC, Universal/MCA Music Limited, Universal/MCA Music Publishing Pty. Limited,

  Music Corporation of America, Inc., Musik Edition Discoton GmbH, Polygram Publishing, Inc.,

  Songs of Universal, Inc., Warner Records Inc. (f/k/a Warner Bros. Records Inc.), Atlantic

  Recording Corporation, Bad Boy Records LLC, Elektra Entertainment Group Inc., Fueled By

  Ramen LLC, Maverick Recording Company, Nonesuch Records Inc., Rhino Entertainment



  1
    On or about January 1, 2020, Bright House Networks, LLC changed its name to Spectrum
  Sunshine State, LLC. It filed an amendment to its corporate registration in Florida showing the
  new name on or about January 2, 2020. To avoid confusion, for purposes of this litigation, which
  was commenced in 2019, Defendant will continue to be referred to as “Bright House Networks,
  LLC” or “Bright House.”

                                                 1
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 2 of 76 PageID 3938




  Company, The All Blacks U.S.A., Inc., Warner Music Inc., Warner Records/SIRE Ventures LLC,

  WEA International Inc., Warner Chappell Music, Inc. (f/k/a Warner/Chappell Music, Inc.),

  Warner-Tamerlane Publishing Corp., W Chappell Music Corp d/b/a WC Music Corp. (f/k/a WB

  Music Corp.), W.C.M. Music Corp (f/k/a W.B.M. Music Corp.), Unichapell Music Inc., Rightsong

  Music Inc., Cotillion Music, Inc., Intersong U.S.A., Inc., Chappell & Co. Inc., Sony Music

  Entertainment, Arista Music, Arista Records LLC, LaFace Records LLC, Provident Label Group,

  LLC, Sony Music Entertainment US Latin, The Century Family, Inc., Volcano Entertainment III,

  LLC, Zomba Recordings LLC, Sony/ATV Music Publishing LLC, EMI Al Gallico Music Corp.,

  EMI April Music Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI Consortium

  Music Publishing Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc., individually and

  d/b/a EMI Longitude Music, EMI Entertainment World Inc. d/b/a EMI Foray Music, EMI Jemaxal

  Music Inc., EMI Feist Catalog Inc., EMI Miller Catalog Inc., EMI Mills Music, Inc., EMI U

  Catalog Inc., Famous Music LLC, Jobete Music Co. Inc., Stone Agate Music, Screen Gems-EMI

  Music Inc., and Stone Diamond Music Corp. (collectively, the “Plaintiffs”), dated January 6, 2020

  (the “First Amended Complaint”) as follows:

                                        INTRODUCTION 2

         1.     Plaintiffs are record companies that produce, manufacture, distribute, sell, and

  license commercial sound recordings, and music publishers that acquire, license, and otherwise

  exploit musical compositions, both in the United States and internationally. Through their

  enormous investments of money, time, and exceptional creative efforts, Plaintiffs and their




  2
    For the Court’s convenience, Defendant has reproduced the headings from Plaintiffs’ First
  Amended Complaint. Defendant does not thereby concede, affirm, or otherwise adopt any of those
  headings.

                                                 2
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 3 of 76 PageID 3939




  representative recording artists and songwriters have developed and marketed some of the world’s

  most famous and popular music. Plaintiffs own and/or control exclusive rights to the copyrights to

  some of the most famous sound recordings performed by classic artists and contemporary

  superstars, as well as the copyrights to large catalogs of iconic musical compositions and modern

  hit songs. Their investments and creative efforts have shaped the musical landscape as we know

  it, both in the United States and around the world.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 1 of the First Amended Complaint and on that basis denies those

  allegations.

         2.      As one of the largest Internet service providers (“ISPs”) in the country, Bright

  House has marketed and sold high-speed Internet services to consumers nationwide. Through the

  provision of those services, Bright House has knowingly contributed to, and reaped substantial

  profits from, massive copyright infringement committed by thousands of its subscribers, causing

  great harm to Plaintiffs, their recording artists and songwriters, and others whose livelihoods

  depend upon the lawful acquisition of music. Bright House’s contribution to its subscribers’

  infringement is both willful and extensive, and renders Bright House equally liable. Indeed, for

  years, Bright House deliberately refused to take reasonable measures to curb customers from using

  its Internet services to infringe on others’ copyrights, including Plaintiffs’ copyrights—even after

  Bright House became aware of particular customers engaging in specific, repeated acts of

  infringement. Plaintiffs’ representatives (as well as others) sent hundreds of thousands of statutory

  infringement notices to Bright House, under penalty of perjury. Those notices advised Bright

  House of its subscribers’ blatant and systematic use of Bright House’s Internet service to illegally

  download, copy, and distribute Plaintiffs’ copyrighted music through BitTorrent and other online



                                                   3
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 4 of 76 PageID 3940




  file-sharing services. Rather than working with Plaintiffs to curb this massive infringement, Bright

  House did nothing, choosing to prioritize its own profits over its legal obligations.

         Answer:          Defendant admits that Bright House operates as an Internet service

  provider, and markets and sells high-speed Internet services to consumers. Defendant admits that

  it received notices of alleged infringement from third parties, but lacks knowledge or information

  as to whether and which of these notices were sent on behalf of which Plaintiffs, whether such

  notices complied with statutory requirements, and whether they were made under penalty of

  perjury, and on that basis, Bright House denies those allegations. Defendant denies the remaining

  allegations in Paragraph 2 of the First Amended Complaint.

         3.      It is well-established law that a party may not assist someone it knows is engaging

  in copyright infringement. Further, when a party has a direct financial interest in the infringing

  activity, and the right and practical ability to stop or limit it, that party must act. Ignoring and

  flouting those basic responsibilities, Bright House deliberately turned a blind eye to its subscribers’

  infringement. Bright House failed to terminate or otherwise take meaningful action against the

  accounts of repeat infringers of which it was aware. Despite its professed commitment to taking

  action against repeat offenders, Bright House routinely thumbed its nose at Plaintiffs by continuing

  to provide service to subscribers it knew to be serially infringing copyrighted sound recordings

  and musical compositions. In reality, Bright House operated its service as an attractive tool and

  safe haven for infringement.

         Answer:         The first two sentences of Paragraph 3 of the First Amended Complaint

  constitute Plaintiffs’ characterization of copyright law and legal conclusions to which Defendant

  is not obligated to respond. Defendant denies the remaining allegations of Paragraph 3 of the First

  Amended Complaint.



                                                    4
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 5 of 76 PageID 3941




          4.      Bright House has derived an obvious and direct financial benefit from its

  customers’ infringement. The unlimited ability to download and distribute Plaintiffs’ works

  through Bright House’s service has served as a draw for Bright House to attract, retain, and charge

  higher fees to subscribers. By failing to terminate the accounts of specific recidivist infringers

  known to Bright House, Bright House obtained a direct financial benefit from its subscribers’

  continuing infringing activity. That financial benefit included improper revenue that it would not

  have received had it appropriately shut down those accounts. Bright House decided not to

  terminate infringers because it wanted to maintain the revenue that is generated from their

  accounts.

          Answer:         Defendant denies the allegations in Paragraph 4 of the First Amended

  Complaint.

          5.      The infringing activity of Bright House’s subscribers that is the subject of

  Plaintiffs’ claims, and for which Bright House is secondarily liable, occurred after Bright House

  received multiple notices of each subscriber’s infringing activity. Specifically, Plaintiffs seek relief

  for claims that accrued between March 24, 2013 and May 17, 2016 for infringement of works by

  Bright House subscribers after those particular subscribers were identified to Bright House in

  multiple infringement notices. 3 These claims have been preserved through tolling agreements

  entered into with Bright House in March, April, and June 2016, as applicable.

          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations of Paragraph 5 of the First Amended Complaint regarding the nature of Plaintiffs’



  3
    Specifically, the Universal Plaintiffs seek relief for claims that accrued on or after March 24,
  213; the Sony Music Plaintiffs and Warner Plaintiffs seek relief for claims that accrued on or after
  April 18, 2013; and the Sony/ATV and EMI Plaintiffs seek relief for claims that accrued on or
  after June 15, 2013.

                                                     5
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 6 of 76 PageID 3942




  claims, but denies that Plaintiffs are entitled to any relief, including for any period of time.

  Defendant admits that it entered into tolling agreements with certain of the Plaintiffs, but denies

  that those tolling agreements preserved all of Plaintiffs’ claims. Defendant denies the remaining

  allegations of Paragraph 5 of the First Amended Complaint.

                                       NATURE OF ACTION

          6.      This is a civil action in which Plaintiffs seek damages for copyright infringement

  under the Copyright Act, 17 U.S.C. § 101, et seq.

          Answer:        Defendant admits that Plaintiffs have filed this action under the copyright

  laws of the United States, but denies that there has been any wrongdoing.

          7.      This Court has original subject matter jurisdiction over Plaintiffs’ copyright

  infringement claims pursuant to 28 U.S.C. §§ 1331 and 1338(a).

          Answer:        Defendant admits that this Court has subject matter jurisdiction over

  Plaintiffs’ claims.

          8.      This Court has personal jurisdiction over Bright House pursuant to Fla. Stat.

  § 48.193. Bright House has continuously and systematically transacted business in Florida and

  maintained sizable operations in the state—employing thousands of people, and providing an array

  of services to customers, within the state during the relevant time period. Bright House has engaged

  in substantial activities purposefully directed at Florida from which Plaintiffs’ claims arise,

  including establishing significant network management operations in Florida; employing

  individuals within Florida with responsibility for overseeing its network and subscriber use

  policies; providing Internet service to Florida subscribers who used Bright House’s network to

  directly and repeatedly infringe Plaintiffs’ copyrights; continuing to provide Internet service to,

  and failing to suspend or terminate the accounts of Florida customers, even after receiving multiple



                                                   6
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 7 of 76 PageID 3943




  notices of their infringing activity; advertising its high-speed Internet services in Florida to serve

  as a draw for subscribers who sought faster download speeds to facilitate their direct and repeated

  infringements; and/or responding or failing to respond to repeated notices of copyright

  infringement directed to infringing subscribers located in the state.

         Answer:         Defendant admits that Bright House conducts business in Florida, has

  employees in Florida, provides services to customers in Florida, and maintains network

  management operations in Colorado. Defendant denies the remaining allegations in Paragraph 8

  of the First Amended Complaint.

         9.      Much of the misconduct complained of herein arises directly from Bright House’s

  forum-directed activities—including specific and continuing acts of infringement by specific

  subscribers using Bright House’s network; Bright House’s awareness of those activities; Bright

  House’s receipt of and failure to act in response to Plaintiffs’ notices of infringement activity; and

  Bright House’s failure to take reasonable measures to terminate repeat infringers.

         Answer:         Defendant denies that there has been any unlawful conduct by Defendant

  giving rise to the claims in this case. Defendant lacks knowledge or information sufficient to admit

  or deny the allegations in Paragraph 9 regarding the residence or location of any allegedly

  infringing subscribers, and on that basis denies the allegation. Defendant denies the remaining

  allegations in Paragraph 9 of the First Amended Complaint.

         10.     Many of the acts complained of herein occurred in Florida and in this judicial

  district. For example, a number of egregious repeat infringers, who are Bright House subscribers,

  reside in and infringed Plaintiffs’ rights in Florida and this judicial district using Internet service

  provided by Bright House in the state. Indeed, Plaintiffs have identified thousands of Bright House

  subscribers who appear to reside in Florida and who have repeatedly infringed Plaintiffs’



                                                    7
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 8 of 76 PageID 3944




  copyrighted works. For example, one Bright House subscriber believed to be located in this

  district, with IP address 75.115.37.74 at the time of infringement, was identified in infringement

  notices 174 times between August 13, 2013 and September 24, 2014. A different Bright House

  subscriber believed to be located in this district, with IP address 75.115.115.76, was identified in

  infringement notices 88 times between August 20, 2013 and September 24, 2014. Yet another

  Bright House subscriber believed to be located in this district, with IP address 75.115.227.25, was

  identified in infringement notices 87 times between August 22, 2013 and November 27, 2014. Still

  another Bright House subscriber believed to be located in this district, with IP address

  71.47.207.198, was identified in infringement notices 146 times between March 5, 2014 and

  February 27, 2015. Yet another Bright House subscriber believed to be located in this district, with

  IP address 142.196.247.23 at the time of the infringing conduct, was identified in infringement

  notices 203 times between December 21, 2012 and November 27, 2014.

         Answer:         Defendant denies that there has been any unlawful conduct by Defendant

  giving rise to the claims in this case. Defendant lacks knowledge or information sufficient to admit

  or deny the allegations in Paragraph 10 regarding the residence, location or identity of any

  allegedly infringing subscribers, and on that basis denies the allegation. Defendant denies the

  remaining allegations in Paragraph 10.

         11.     Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c), and 1400(a). A

  substantial part of the acts of infringement, and other events and omissions complained of herein,

  occur or have occurred in this district, and this is a district in which Bright House resides or may

  be found.

         Answer:         Defendant denies that there has been any unlawful conduct by Defendant

  giving rise to the claims in this case. Defendant lacks knowledge or information sufficient to admit



                                                   8
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 9 of 76 PageID 3945




  or deny the allegations in Paragraph 11 regarding the residence or location of any allegedly

  infringing subscribers, and on that basis denies the allegation. Paragraph 11 contains legal

  conclusions to which no response is required. To the extent that a response is required, Defendant

  denies the remaining allegations of Paragraph 11.

                      PLAINTIFFS AND THEIR COPYRIGHTED MUSIC

           12.   Plaintiffs are the copyright owners of, and/or control exclusive rights with respect

  to, millions of sound recordings (i.e., recorded music) and/or musical compositions (i.e., the songs

  embodied in the sound recordings), including many written and recorded by some of the most

  prolific and well-known songwriters and recording artists throughout the world.

           Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 12 of the First Amended Complaint and on that basis denies those

  allegations.

           13.   Plaintiff UMG Recordings, Inc. (“UMG”) is a Delaware corporation with its

  principal place of business at 2220 Colorado Avenue, Santa Monica, California 90404.

           Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 13 of the First Amended Complaint and on that basis denies those

  allegations.

           14.   Plaintiff Capitol Records, LLC (“Capitol Records”) is Delaware Limited Liability

  Company with its principal place of business at 1750 N. Vine Street, Los Angeles, California

  90068.

           Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 14 of the First Amended Complaint and on that basis denies those

  allegations.



                                                   9
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 10 of 76 PageID 3946




         15.     Plaintiff Warner Records Inc. (f/k/a Warner Bros. Records Inc.) (“WRI”) is a

  Delaware corporation with its principal place of business at 777 South Santa Fe Avenue, Los

  Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 15 of the First Amended Complaint and on that basis denies those

  allegations.

         16.     Plaintiff Atlantic Recording Corporation (“Atlantic”) is a Delaware corporation

  with its principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 16 of the First Amended Complaint and on that basis denies those

  allegations.

         17.     Plaintiff Bad Boy Records LLC (“Bad Boy”) is a Delaware Limited Liability

  Company with its principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 17 of the First Amended Complaint and on that basis denies those

  allegations.

         18.     Plaintiff Elektra Entertainment Group Inc. (“Elektra”) is a Delaware corporation

  with its principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 18 of the First Amended Complaint and on that basis denies those

  allegations.

         19.     Plaintiff Fueled By Ramen LLC (“FBR”) is a Delaware Limited Liability Company

  with its principal place of business at 1633 Broadway, New York, New York 10019.



                                                10
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 11 of 76 PageID 3947




         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 19 of the First Amended Complaint and on that basis denies those

  allegations.

         20.     Plaintiff Maverick Recording Company (“Maverick”) is a California general

  partnership, with its principal place of business at 777 South Santa Fe Avenue, Los Angeles,

  California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 20 of the First Amended Complaint and on that basis denies those

  allegations.

         21.     Plaintiff Nonesuch Records Inc. (“Nonesuch”) is a Delaware corporation with its

  principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 21 of the First Amended Complaint and on that basis denies those

  allegations.

         22.     Plaintiff Rhino Entertainment Company (“Rhino”) is a Delaware corporation, with

  its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 22 of the First Amended Complaint and on that basis denies those

  allegations.

         23.     Plaintiff The All Blacks U.S.A., Inc. (“The All Blacks”) is a Delaware corporation

  with its principal place of business at 1633 Broadway, New York, New York 10019.




                                                 11
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 12 of 76 PageID 3948




         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 23 of the First Amended Complaint and on that basis denies those

  allegations.

         24.     Plaintiff Warner Music Inc. (“Warner Music”) is a Delaware corporation with its

  principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 24 of the First Amended Complaint and on that basis denies those

  allegations.

         25.     Plaintiff Warner Records/SIRE Ventures LLC (“Warner Records/SIRE”) is a

  Delaware Limited Liability Company with its principal place of business at 777 South Santa Fe

  Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 25 of the First Amended Complaint and on that basis denies those

  allegations.

         26.     Plaintiff WEA International Inc. (“WEA”) is a Delaware corporation with its

  principal place of business at 1633 Broadway, New York, New York 10019.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 26 of the First Amended Complaint and on that basis denies those

  allegations.

         27.     Plaintiff Sony Music Entertainment (“Sony”) is a Delaware general partnership, the

  partners of which are citizens of New York and Delaware. Sony’s headquarters and principal place

  of business are located at 25 Madison Avenue, New York, New York 10010.




                                                 12
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 13 of 76 PageID 3949




         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 27 of the First Amended Complaint and on that basis denies those

  allegations.

         28.     Plaintiff Arista Music (“Arista Music”) is a New York partnership with its principal

  place of business at 25 Madison Avenue, New York, New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 28 of the First Amended Complaint and on that basis denies those

  allegations.

         29.     Plaintiff Arista Records LLC (“Arista Records”) is a Delaware Limited Liability

  Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 29 of the First Amended Complaint and on that basis denies those

  allegations.

         30.     Plaintiff LaFace Records LLC (“LaFace”) is a Delaware Limited Liability

  Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 30 of the First Amended Complaint and on that basis denies those

  allegations.

         31.     Plaintiff Provident Label Group, LLC (“Provident”) is a Delaware Limited

  Liability Company with its principal place of business at 741 Cool Springs Boulevard, Franklin,

  Tennessee 37067.




                                                  13
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 14 of 76 PageID 3950




         Answer:          Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 31 of the First Amended Complaint and on that basis denies those

  allegations.

         32.     Plaintiff Sony Music Entertainment US Latin (“Sony Latin”) is a Delaware Limited

  Liability Company with its principal place of business at 3390 Mary Street, Suite 220, Coconut

  Grove, Florida 33133.

         Answer:          Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 32 of the First Amended Complaint and on that basis denies those

  allegations.

         33.     Plaintiff The Century Family, Inc. (“Century”) is a California corporation with its

  principal place of business at 12706 West Washington Boulevard, Culver City, California 90066.

         Answer:          Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 33 of the First Amended Complaint and on that basis denies those

  allegations.

         34.     Plaintiff Volcano Entertainment III, LLC (“Volcano”) is a Delaware Limited

  Liability Company with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.

         Answer:          Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 34 of the First Amended Complaint and on that basis denies those

  allegations.

         35.     Plaintiff Zomba Recording LLC (“Zomba”) is a Delaware Limited Liability

  Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.




                                                 14
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 15 of 76 PageID 3951




             Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 35 of the First Amended Complaint and on that basis denies those

  allegations.

             36.   Plaintiffs UMG, Capitol Records, WRI, Atlantic, Bad Boy, Elektra, FBR,

  Nonesuch, Maverick, Rhino, The All Blacks, Warner Music, Warner Records/SIRE, WEA, Sony,

  Arista Music, Arista Records, LaFace, Provident, Sony Latin, Century, Volcano, and Zomba are

  referred to herein collectively as the “Record Company Plaintiffs.”

             Answer:     Paragraph 36 of the First Amended Complaint does not contain factual

  allegations to which Defendant is obligated to respond.

             37.   The Record Company Plaintiffs are some of the largest record companies in the

  world, engaged in the business of producing, manufacturing, distributing, selling, licensing, and

  otherwise exploiting sound recordings in the United States through various media. They invest

  substantial money, time, effort, and talent in creating, advertising, promoting, selling, and licensing

  unique and valuable sound recordings embodying the performances of their exclusive recording

  artists.

             Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 37 of the First Amended Complaint and on that basis denies those

  allegations.

             38.   Plaintiff Universal Music Corp. (“UMC”) is a California corporation with its

  principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

             Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 38 of the First Amended Complaint and on that basis denies those

  allegations.



                                                    15
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 16 of 76 PageID 3952




         39.     Plaintiff Universal Music – MGB NA LLC (“MGB”) is a California Limited

  Liability Company with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 39 of the First Amended Complaint and on that basis denies those

  allegations.

         40.     Plaintiff Universal Music Publishing Inc. (“Universal Music Publishing”) is a

  California corporation with its principal place of business at 2100 Colorado Avenue, Santa

  Monica, California 90404.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 40 of the First Amended Complaint and on that basis denies those

  allegations.

         41.     Plaintiff Universal Music Publishing AB (“AB”) is a company organized under the

  laws of Sweden.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 41 of the First Amended Complaint and on that basis denies those

  allegations.

         42.     Plaintiff Universal Music Publishing Limited (“Publishing Limited”) is a company

  incorporated under the laws of England and Wales.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 42 of the First Amended Complaint and on that basis denies those

  allegations.




                                                16
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 17 of 76 PageID 3953




         43.     Plaintiff Universal Music Publishing MGB Limited (“MGB Limited”) is a

  company incorporated under the laws of England and Wales.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 43 of the First Amended Complaint and on that basis denies those

  allegations.

         44.     Plaintiff Universal Music – Z Tunes LLC (“Z Tunes”) is a California corporation

  with its principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 44 of the First Amended Complaint and on that basis denies those

  allegations.

         45.     Plaintiff Universal/MCA Music Limited (“MCA Limited”) is a company

  incorporated under the laws of England and Wales.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 45 of the First Amended Complaint and on that basis denies those

  allegations.

         46.     Plaintiff Universal/MCA Music Publishing Pty. Limited (“MCA Publishing

  Limited”) is a company organized under the laws of the Australia.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 46 of the First Amended Complaint and on that basis denies those

  allegations.

         47.     Plaintiff Music Corporation of America, Inc. (“Music Corp.”) is a California

  corporation with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.



                                                17
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 18 of 76 PageID 3954




         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 47 of the First Amended Complaint and on that basis denies those

  allegations.

         48.     Plaintiff Musik Edition Discoton GmbH (“Musik Edition”) is a company

  incorporated under the laws of Germany.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 48 of the First Amended Complaint and on that basis denies those

  allegations.

         49.     Plaintiff Polygram Publishing, Inc. (“Polygram Publishing”) is a California

  corporation with its principal place of business at 2100 Colorado Avenue, Santa Monica,

  California 90404.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 49 of the First Amended Complaint and on that basis denies those

  allegations.

         50.     Plaintiff Songs of Universal, Inc. (“Songs of Universal”) is a California corporation

  with its principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 50 of the First Amended Complaint and on that basis denies those

  allegations.

         51.     Plaintiff Warner Chappell Music, Inc. (f/k/a Warner/Chappell Music, Inc.)

  (“Warner Chappell”) is a Delaware corporation with its principal place of business at 777 South

  Santa Fe Avenue, Los Angeles, California 90021.




                                                  18
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 19 of 76 PageID 3955




         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 51 of the First Amended Complaint and on that basis denies those

  allegations.

         52.     Plaintiff Warner-Tamerlane Publishing Corp. (“Warner-Tamerlane”) is a

  California corporation with its principal place of business at 777 South Santa Fe Avenue, Los

  Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 52 of the First Amended Complaint and on that basis denies those

  allegations.

         (45) 4 53.     Plaintiff W Chappell Music Corp. d/b/a WC Music Corp. (f/k/a WB Music

  Corp.) (“WC Music”) is a California corporation with its principal place of business at 777 South

  Santa Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 53 of the First Amended Complaint and on that basis denies those

  allegations.

         (46) 54.       Plaintiff W.C.M. Music Corp. (f/k/a W.B.M. Music Corp.) (“W.C.M.”) is a

  Delaware corporation with its principal place of business at 777 South Santa Fe Avenue, Los

  Angeles, California 90021.




  4
    There is a paragraph numbering error in Plaintiffs’ First Amended Complaint. ECF 96-1.
  Paragraph 52 on page 12 is followed by Paragraph 45 on page 13, and the numbering continues
  sequentially from paragraph 45 to the end of the document. For the remainder of this Answer, the
  erroneous First Amended Complaint numbering is placed in parenthesis before the sequential
  paragraph numbering, for ease of reference.

                                                 19
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 20 of 76 PageID 3956




         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 54 of the First Amended Complaint and on that basis denies those

  allegations.

         (47) 55.       Plaintiff Unichappell Music Inc. (“Unichappell”) is a Delaware corporation

  with its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 55 of the First Amended Complaint and on that basis denies those

  allegations.

         (48) 56.       Plaintiff Rightsong Music Inc. (“Rightsong Music”) is a Delaware

  corporation with its principal place of business at 777 South Santa Fe Avenue, Los Angeles,

  California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 56 of the First Amended Complaint and on that basis denies those

  allegations.

         (49) 57.       Plaintiff Cotillion Music, Inc. (“Cotillion”) is a Delaware corporation with

  its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 57 of the First Amended Complaint and on that basis denies those

  allegations.

         (50) 58.       Plaintiff Intersong U.S.A., Inc. (“Intersong”) is a Delaware corporation with

  its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.




                                                 20
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 21 of 76 PageID 3957




         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 58 of the First Amended Complaint and on that basis denies those

  allegations.

         (51) 59.      Chappell & Co. Inc. (“Chappell”) is a Delaware corporation with its

  principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 59 of the First Amended Complaint and on that basis denies those

  allegations.

         (52) 60.      Plaintiff Sony/ATV Music Publishing LLC (“Sony/ATV”) is a Delaware

  Limited Liability Company with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 60 of the First Amended Complaint and on that basis denies those

  allegations.

         (53) 61.      Plaintiff EMI Al Gallico Music Corp. (“EMI Al Gallico”), an affiliate of

  Sony/ATV, is a Delaware corporation with its principal place of business at 25 Madison Avenue,

  New York, New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 61 of the First Amended Complaint and on that basis denies those

  allegations.

         (54) 62.      Plaintiff EMI April Music Inc. (“EMI April”), an affiliate of Sony/ATV, is

  a Connecticut corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.



                                                21
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 22 of 76 PageID 3958




         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 62 of the First Amended Complaint and on that basis denies those

  allegations.

         (55) 63.      Plaintiff EMI Blackwood Music Inc. (“EMI Blackwood”), an affiliate of

  Sony/ATV, is a Connecticut corporation with its principal place of business at 25 Madison

  Avenue, New York, New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 63 of the First Amended Complaint and on that basis denies those

  allegations.

         (56) 64.      Plaintiff Colgems-EMI Music Inc. (“EMI Colgems”), an affiliate of

  Sony/ATV, is a Delaware corporation with its principal place of business at 25 Madison Avenue,

  New York, New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 64 of the First Amended Complaint and on that basis denies those

  allegations.

         (57) 65.      Plaintiff EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music

  (“EMI Full Keel”), an affiliate of Sony/ATV, is a New York corporation with its principal place

  of business at 25 Madison Avenue, New York, New York 10010.

         Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 65 of the First Amended Complaint and on that basis denies those

  allegations.




                                                22
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 23 of 76 PageID 3959




         (58) 66.       Plaintiff EMI Consortium Songs, Inc., individually and d/b/a EMI

  Longitude Music (“EMI Longitude”), an affiliate of Sony/ATV, is a New York corporation with

  its principal place of business at 25 Madison Avenue, New York, New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 66 of the First Amended Complaint and on that basis denies those

  allegations.

         (59) 67.       EMI Entertainment World Inc. d/b/a EMI Foray Music (“EMI

  Entertainment”), an affiliate of Sony/ATV, is a Delaware corporation with its principal place of

  business at 25 Madison Avenue, New York, New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 67 of the First Amended Complaint and on that basis denies those

  allegations.

         (60) 68.       EMI Jemaxal Music Inc. (“EMI Jemaxal”), an affiliate of Sony/ATV, is a

  Delaware corporation with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 68 of the First Amended Complaint and on that basis denies those

  allegations.

         (61) 69.       Plaintiff EMI Feist Catalog Inc. (“EMI Feist”), an affiliate of Sony/ATV, is

  a New York corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.




                                                 23
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 24 of 76 PageID 3960




           Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 69 of the First Amended Complaint and on that basis denies those

  allegations.

           (62) 70.    Plaintiff EMI Miller Catalog Inc. (“EMI Miller”), an affiliate of Sony/ATV,

  is a New York corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

           Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 70 of the First Amended Complaint and on that basis denies those

  allegations.

           (63) 71.    Plaintiff EMI Mills Music, Inc. (“EMI Mills”), an affiliate of Sony/ATV, is

  a Delaware corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.

           Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 71 of the First Amended Complaint and on that basis denies those

  allegations.

           (64) 72.    Plaintiff EMI U Catalog Inc. (“EMI U”), an affiliate of Sony/ATV, is a New

  York corporation with its principal place of business at 25 Madison Avenue, New York, New York

  10010.

           Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 72 of the First Amended Complaint and on that basis denies those

  allegations.




                                                24
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 25 of 76 PageID 3961




         (65) 73.       Plaintiff Famous Music LLC (“Famous Music”) is a Delaware Limited

  Liability Company with its principal place of business at 25 Madison Avenue, New York, New

  York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 73 of the First Amended Complaint and on that basis denies those

  allegations.

         (66) 74.       Plaintiff Jobete Music Co. Inc. (“Jobete”), an affiliate of Sony/ATV, is a

  Michigan corporation with its principal place of business at 25 Madison Avenue, New York, New

  York 10010. Plaintiff Stone Agate Music (“Stone Agate”) is a division of Jobete.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 74 of the First Amended Complaint and on that basis denies those

  allegations.

         (67) 75.       Plaintiff Screen Gems-EMI Music Inc. (“Gems-EMI”), an affiliate of

  Sony/ATV, is a Delaware corporation with its principal place of business at 25 Madison Avenue,

  New York, New York 10010.

         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 75 of the First Amended Complaint and on that basis denies those

  allegations.

         (68) 76.       Plaintiff Stone Diamond Music Corp. (“Stone”), an affiliate of Sony/ATV,

  is a Michigan corporation with its principal place of business at 25 Madison Avenue, New York,

  New York 10010.




                                                25
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 26 of 76 PageID 3962




          Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 76 of the First Amended Complaint and on that basis denies those

  allegations.

          (69) 77.      Plaintiffs UMC, MGB, Universal Music Publishing, AB, Publishing

  Limited, MGB Limited, Z Tunes, MCA Limited, MCA Publishing Limited, Music Corp., Musik

  Edition, Polygram Publishing, Songs of Universal, Warner Chappell, Warner-Tamerlane, WC

  Music, W.C.M., Unichappell, Rightsong Music, Cotillion, Intersong, Chappell, Sony/ATV, EMI

  Al Gallico, EMI April, EMI Blackwood, EMI Colgems, EMI Full Keel, EMI Longitude, EMI

  Entertainment, EMI Jemaxal, EMI Feist, EMI Miller, EMI Mills, EMI U, Famous Music, Jobete,

  Stone Agate, Gems-EMI, and Stone are referred to herein collectively as the “Music Publisher

  Plaintiffs.”

          Answer:       Paragraph 77 of the First Amended Complaint does not contain factual

  allegations to which Defendant is obligated to respond.

          (70) 78.      The Music Publisher Plaintiffs are leading music publishers engaged in the

  business of acquiring, owning, publishing, licensing, and otherwise exploiting copyrighted musical

  compositions. Each invests substantial money, time, effort, and talent to acquire, administer,

  publish, license, and otherwise exploit such copyrights, on its own behalf and on behalf of

  songwriters and others who have assigned exclusive copyright interests to the Music Publisher

  Plaintiffs.

          Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 78 of the First Amended Complaint and on that basis denies those

  allegations.




                                                 26
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 27 of 76 PageID 3963




         (71) 79.        Plaintiffs own and/or control in whole or in part the copyrights and/or

  exclusive rights in innumerable popular sound recordings and musical compositions, including the

  sound recordings listed on Exhibit A and musical compositions listed on Exhibit B, both of which

  are illustrative and non-exhaustive. All of the sound recordings and musical compositions listed

  on Exhibits A and B have been registered with the U.S. Copyright Office.

         Answer:         Defendant admits that Exhibits A and B to the First Amended Complaint 5

  purport to list the works alleged by Plaintiffs in this action. Defendant lacks knowledge or

  information sufficient to admit or deny the remaining allegations of Paragraph 79 of the First

  Amended Complaint and on that basis denies those allegations.

                            BRIGHT HOUSE AND ITS ACTIVITIES

         (72) 80.        Bright House is a Delaware Limited Liability Company with its principal

  place of business at 12405 Powerscourt Drive, St. Louis, Missouri 63131. Bright House maintains,

  and at all pertinent times has maintained, substantial operations and offices in Florida.

         Answer:         Defendant admits that Bright House is a Delaware limited liability company

  and that Bright House operates an office in Florida but denies the remaining allegations in

  Paragraph 80 of the First Amended Complaint.

         (73) 81.        Bright House’s customers have paid substantial subscription fees for access

  to its high-speed Internet network, with Bright House offering a range of options that allow

  subscribers to purchase Internet service based on different downloading speeds.




  5
   Plaintiffs’ original Exhibits A and B to their First Amended Complaint, ECF 94-1 and 94-2, were
  ordered to be replaced with amended versions on February 18, 2020. ECF 117. As described in
  detail in Bright House’s Counterclaims below, these amended versions of Exhibits A and B
  dropped hundreds of works that Plaintiffs had previously asserted.

                                                   27
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 28 of 76 PageID 3964




         Answer:         Defendant admits that, during the time period relevant to Plaintiffs’

  allegations, Bright House offered various products at different price points. Defendant denies the

  remaining allegations in Paragraph 85 of the First Amended Complaint.

         (74) 82.        Many of Bright House’s subscribers are primarily drawn to its service

  because it allows them to use Bright House’s network to download music and other copyrighted

  content—including unauthorized content—as efficiently as possible. Accordingly, in its consumer

  marketing material, Bright House has touted how its service enables subscribers to download and

  upload large amounts of content, including music, in seconds. In exchange for this service, Bright

  House charges its customers monthly fees ranging in price based on the type of service.

         Answer:         Defendant admits that its Internet service allows customers to download

  content. Defendant admits that, during the time period relevant to Plaintiffs’ allegations, Bright

  House offered various products at different price points. Defendant denies the remaining

  allegations in Paragraph 82 of the First Amended Complaint.

         (75) 83.        At the same time, Bright House has consistently and actively engaged in

  network management practices to suit its own purposes. This includes monitoring for, and taking

  action against, spam and other unwanted activity that might otherwise interfere with its provision

  of Internet service to its subscribers. But Bright House has gone out of its way not to take action

  against subscribers engaging in repeated copyright infringement, at the expense of copyright

  owners, ultimately forcing Plaintiffs to bring this litigation.

         Answer:         Defendant denies the allegations in Paragraph 86 of the First Amended

  Complaint.

         (76) 84.        At all pertinent times, Bright House knew that its subscribers routinely used

  its networks for illegally downloading and uploading copyrighted works, especially music. As



                                                    28
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 29 of 76 PageID 3965




  described below, Plaintiffs repeatedly notified Bright House that many of its subscribers were

  actively utilizing its service to infringe their works. Those notices gave Bright House the specific

  identities of its subscribers engaged in copyright infringement, referred to by their unique Internet

  Protocol or “IP” addresses. Yet Bright House persistently turned a blind eye to the massive

  infringement of Plaintiffs’ works occurring over its network. Bright House condoned the illegal

  activity because it was popular with subscribers and acted as a draw to attract and retain new and

  existing subscribers. Bright House’s customers, in turn, continued using Bright House’s services

  to infringe Plaintiffs’ copyrights. Bright House undoubtedly recognized that if it terminated or

  otherwise prevented its repeat infringer subscribers from using its service to infringe, or made it

  less attractive for such use, Bright House would enroll fewer new subscribers, lose existing

  subscribers, and ultimately lose revenue. For those account holders and subscribers who wanted

  to download files illegally at faster speeds, Bright House obliged them in exchange for higher

  rates. In other words, the greater the bandwidth its subscribers required for pirating content, the

  more money Bright House made.

         Answer:         Defendant denies the allegations in Paragraph 84 of the First Amended

  Complaint.

                             THE GLOBAL P2P PIRACY PROBLEM

                                         General Landscape

         (77) 85.        While the digital age has brought many benefits, one notable exception is

  its facilitation of unprecedented online piracy of music and other copyrighted works. As the

  Supreme Court has recognized, the level of copyright infringement on the Internet is “staggering.”

  Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 923 (2005).




                                                   29
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 30 of 76 PageID 3966




         Answer:         Defendant admits that Paragraph 85 includes an accurate one-word quote

  from the Supreme Court of the United States, but Defendant denies the allegations in Paragraph

  88 of the First Amended Complaint that reflect the characterization of the Supreme Court’s opinion

  on the basis that the opinion of the Supreme Court speaks for itself. Defendant denies the remaining

  allegations in Paragraph 88 of the First Amended Complaint.

         (78) 86.        Use of peer-to-peer (“P2P”) distribution systems has dominated

  unauthorized downloading and distribution of copyrighted music. P2P is a generic term used to

  refer to a decentralized network of users whereby each Internet-connected participant (i.e., a “peer”

  or a “node”) can act as both a supplier and consumer of content files. Early P2P services, such as

  Napster and KaZaA, have been replaced by even more robust and efficient systems, most notably

  a protocol called “BitTorrent.” The online piracy committed via BitTorrent is stunning in nature,

  speed, and scope. Utilizing a BitTorrent client—essentially a tool that manages the uploading and

  downloading of files through BitTorrent technology—persons connected to the Internet can locate,

  access, and download copyrighted content from other peers in the blink of an eye. They download

  copyrighted music from other network users, usually total strangers, and end up with complete

  digital copies of any music they desire—without payment to copyright owners or creators.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 86 of the First Amended Complaint, and on that basis denies those

  allegations.

         (79) 87.        BitTorrent is uniquely efficient in the way it facilitates illegal file transfers.

  On earlier P2P networks, a user wanting to download a music file would have to locate another

  Internet-connected peer with the desired file and download the entire file from that peer. BitTorrent

  facilitates much faster downloading by breaking each file into pieces, allowing users to download



                                                    30
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 31 of 76 PageID 3967




  different pieces of content simultaneously from different peers. At the same time, the system

  allows users to begin disseminating the copyrighted content before the complete file has even

  downloaded. This means that, at any given time, each user connected to the Internet can be both

  downloading and uploading different pieces of a file from, and to, multiple other users. Once a

  user has downloaded all the pieces, the file is automatically reassembled into its complete form

  and available for playback by the user. Needless to say, acquiring copyrighted music in this fashion

  eliminates the need to obtain it through legitimate channels and eliminates the requirement of

  paying a fee.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 87 of the First Amended Complaint, and on that basis denies those

  allegations.

         (80) 88.        Not surprisingly, then, during the time period in which the claims in this

  action arose, BitTorrent was used widely as a vehicle to infringe content online. In a report from

  January 2011, a survey conducted by the firm Envisional estimated that 11.4 percent of all Internet

  traffic involved the unauthorized distribution of non-pornographic copyrighted content via

  BitTorrent. In a report from September 24, 2013, another company, NetNames, estimated that

  99.97 percent of non-pornographic files distributed via BitTorrent systems infringe copyrights. To

  illustrate, in one well-publicized incident in 2015, millions of individual BitTorrent users

  downloaded an episode of HBO’s “Game of Thrones” within just 24 hours of its airing.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the first or third sentences in Paragraph 88 of the First Amended Complaint, and on

  that basis denies those allegations. Defendant denies the remaining allegations in Paragraph 88 of




                                                  31
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 32 of 76 PageID 3968




  the First Amended Complaint, and where the allegations in Paragraph 88 refer to reports,

  Defendant refers the Court to those reports for an accurate rendition of their contents.

         Plaintiffs’ Enforcement Activities and Bright House’s Efforts to Thwart Them

         (81) 89.        Over the past two decades, as P2P piracy became widespread, music and

  other copyright owners have employed litigation and other means to attempt to curtail the massive

  theft of their copyrighted works. Bright House has been keenly aware of those efforts and the use

  of its network for P2P piracy.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the first sentence of Paragraph 89 of the First Amended Complaint, and on that basis

  denies those allegations. Defendant denies the remaining allegations in Paragraph 89 of the First

  Amended Complaint.

         (82) 90.        The Record Company Plaintiffs began sending notices to Bright House (and

  other ISPs) identifying specific instances of its subscribers’ infringement through P2P activities.

  From 2012 through 2015, Bright House received over one hundred thousand notices, provided

  under penalty of perjury, detailing specific instances of its subscribers using P2P protocols on its

  network to distribute and copy Plaintiffs’ copyrighted content unlawfully both within, and beyond,

  the Bright House network.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the first sentence of Paragraph 90 of the First Amended Complaint, and on that basis

  denies those allegations. Defendant admits that it received notices from third party, the RIAA, of

  which the only portion stated under penalty of perjury is that the RIAA was authorized to send the

  notice on behalf of its member companies in matters involving the infringement of their sound




                                                  32
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 33 of 76 PageID 3969




  recordings, including enforcing their copyrights and common law rights on the Internet. Defendant

  denies the remaining allegations in Paragraph 90.

         (83) 91.        The infringement notices provided to Bright House identify the unique IP

  address assigned to each user of Bright House’s network, and the date and time the infringing

  activity was detected. Only Bright House, as the provider of the technology and system used to

  infringe, had the information required to match the IP address to a particular subscriber, and to

  contact that subscriber or terminate that subscriber’s service.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the first sentence in Paragraph 91 of the First Amended Complaint, and on that basis

  denies those allegations. Defendant admits that Bright House generally has the ability to match an

  IP address, accompanied with the date and time, to particular subscribers, with respect to at least

  some historic accounts, but denies that Bright House has the ability to determine the identity of

  the individual using the device on its service. Defendant denies the remaining allegations in

  Paragraph 91 of the First Amended Complaint.

         (84) 92.        Plaintiffs’ infringement notices notified Bright House of clear and

  unambiguous infringing activity by Bright House subscribers—that is, unauthorized downloading

  and distribution of copyrighted music. Bright House’s subscribers had no legal basis or

  justification for downloading or distributing digital copies of Plaintiffs’ sound recordings and

  musical compositions to thousands or millions of strangers over the Internet. Tellingly, to the

  extent that Bright House forwarded Plaintiffs’ infringement notices to subscribers accused of using

  Bright House’s network to infringe, those subscribers did not challenge the claims of infringement

  by sending counter-notices to Bright House contesting those claims (a process that Bright House

  outlined and made available to its users).



                                                   33
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 34 of 76 PageID 3970




         Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in the second sentence in Paragraph 92 of the First Amended Complaint, on that basis

  denies those allegations. Defendant admits that Bright House generally has the ability to match an

  IP address, accompanied with the date and time, to particular subscribers, with respect to at least

  some historic accounts, but denies that Bright House has the ability to determine the identity of

  the individual using the device on its service. Defendant denies the remaining allegations in

  Paragraph 92 of the First Amended Complaint.

         (85) 93.       Apart from attesting to the sheer volume of the infringing activity on its

  network, the infringement notices sent to Bright House pointed to specific subscribers who were

  flagrant and serial infringers. The infringement notices identified tens of thousands of Bright

  House subscribers engaged in blatant and repeated infringement of Plaintiffs’ copyrighted works.

  To cite just a few specific examples:

         •   During an 827-day period, Bright House subscriber with IP address 75.114.183.231
             was identified in 340 infringement notices, sent on at least 232 separate days.

         •   During a 706-day period, Bright House subscriber with IP address 142.196.247.23 was
             identified in 203 infringement notices, sent on at least 154 separate days.

         •   During a 609-day period, Bright House subscriber with IP address 50.90.203.155 was
             identified in 182 infringement notices, sent on at least 164 separate days.

         •   During an 827-day period, Bright House subscriber with IP address 50.89.138.87 was
             identified in 131 infringement notices, sent on at least 119 separate days.

         •   During a 576-day period, Bright House subscriber with IP address 174.134.133.106
             was identified in 126 infringement notices, sent on at least 105 separate days.

         •   During a 447-day period, Bright House subscriber with IP address 50.89.140.125 was
             identified in 114 infringement notices, sent on at least 90 separate days.

         These examples and countless others amply illustrate that, rather than terminating repeat

  infringers—and losing subscription revenues—Bright House simply looked the other way.




                                                  34
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 35 of 76 PageID 3971




         Answer:         Defendant denies the allegations in Paragraph 93 of the First Amended

  Complaint.

         (86) 94.        During all pertinent times, Bright House had the full legal right, obligation,

  and technical ability to prevent or limit the infringements occurring on its network. Under Bright

  House’s terms of service and acceptable use policies, which its subscribers agreed to as a condition

  of using its Internet service, Bright House was empowered to exercise its right and ability to

  suspend or terminate a customer’s Internet access. Bright House could do so for a variety of

  reasons, including a subscriber’s copyright infringement activity.

         Answer:         Defendant admits that it maintains terms of service and acceptable use

  policies, and those documents speak for themselves. Bright House denies the remaining allegations

  in Paragraph 94 of the First Amended Complaint.

         (87) 95.        Despite these alleged policies, and despite receiving over one hundred

  thousand infringement notices from Plaintiffs, as well as thousands of similar notices from other

  copyright owners, Bright House knowingly permitted specifically identified repeat infringers to

  continue to use its network to infringe. Rather than disconnect the Internet access of blatant repeat

  infringers to curtail their infringement, Bright House knowingly continued to provide these

  subscribers with the Internet access that enabled them to continue to illegally download or

  distribute Plaintiffs’ copyrighted works unabated. Bright House’s provision of high-speed Internet

  service to known infringers materially contributed to these direct infringements. Bright House’s

  failure to act is entirely consistent with its hollow “graduated response” program for copyright

  violators, which, as Bright House stated and reinforced to subscribers, was meant only “to educate

  consumers about copyright infringement” and “not to punish them.”




                                                   35
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 36 of 76 PageID 3972




          Answer:         Defendant denies the allegations in Paragraph 95 of the First Amended

  Complaint.

          (88) 96.        Bright House’s motivation for refusing to terminate or suspend the accounts

  of blatant infringing subscribers is simple: it valued corporate profits over its legal responsibilities.

  Bright House did not want to lose subscriber revenue by terminating accounts of infringing

  subscribers. Retaining infringing subscribers provided a direct financial benefit to Bright House.

  Nor did Bright House want to risk the possibility that account terminations would make its service

  less attractive to other existing or prospective users. Moreover, Bright House was simply

  disinterested in devoting sufficient resources to tracking repeat infringers, responding to

  infringement notices, and terminating accounts in appropriate circumstances. Considering only its

  own pecuniary gain, Bright House ignored and turned a blind eye to flagrant, repeat violations by

  known specific subscribers using its service to infringe, thus facilitating and multiplying the harm

  to Plaintiffs. And Bright House’s failure to police its infringing subscribers adequately drew

  subscribers to purchase Bright House’s services, so that the subscribers could then use those

  services to infringe Plaintiffs’ (and others’) copyrights. The specific infringing subscribers

  identified in Plaintiffs’ notices, including the egregious infringers identified herein, knew Bright

  House would not terminate their accounts despite receiving multiple notices identifying them as

  infringers, and they remained Bright House subscribers to continue illegally downloading

  copyrighted works.

          Answer:         Defendant denies the allegations in Paragraph 96 of the First Amended

  Complaint.

          (89) 97.        The consequences of Bright House’s support of and profit from

  infringement are obvious and stark. When Bright House’s subscribers use Bright House’s network



                                                     36
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 37 of 76 PageID 3973




  to obtain infringing copies of Plaintiffs’ copyrighted works illegally, that activity undercuts the

  legitimate music market, depriving Plaintiffs and those recording artists and songwriters whose

  works they sell and license of the compensation to which they are entitled. Without such

  compensation, Plaintiffs, and their recording artists and songwriters, have fewer resources

  available to invest in the further creation and distribution of high-quality music.

         Answer:         Defendant denies the allegations in Paragraph 97 of the First Amended

  Complaint and denies that Plaintiffs are entitled to any relief.

                                       CLAIMS FOR RELIEF

                          Count I – Contributory Copyright Infringement

         (90) 98.        Plaintiffs repeat and re-allege each and every allegation contained in

  paragraphs 1 through (89) 97 as if fully set forth herein.

         Answer:         Defendant incorporates by reference its responses to Paragraphs 1 through

  97 of the First Amended Complaint.

         (91) 99.        Bright House and its subscribers do not have any authorization, permission,

  license, or consent to exploit the copyrighted sound recordings or musical compositions at issue.

         Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

  allegations in Paragraph 99 of the First Amended Complaint and on that basis denies those

  allegations.

         (92) 100.       Bright House’s subscribers, using Internet access and services provided by

  Bright House, have unlawfully reproduced and distributed via BitTorrent, or other P2P networks,

  thousands of sound recordings and musical compositions for which Plaintiffs are the legal or

  beneficial copyright owners or exclusive licensees. The copyrighted works infringed by Bright

  House’s subscribers, which have been registered with the U.S. Copyright Office, include those



                                                   37
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 38 of 76 PageID 3974




  listed on Exhibits A and B, and many others. The foregoing activity constitutes direct infringement

  in violation of 17 U.S.C. §§ 106 and 501, et seq.

         Answer:         Paragraph 100 contains legal conclusions to which no response is required.

  Defendant admits that Exhibits A and B to the First Amended Complaint purport to list the works

  alleged by Plaintiffs in this action. Defendant lacks knowledge or information sufficient to admit

  or deny the remaining allegations in Paragraph 100 of the First Amended Complaint and on that

  basis denies those allegations.

         (93) 101.       Bright House is liable as a contributory copyright infringer for the direct

  infringements described above. Through Plaintiffs’ infringement notices and other means, Bright

  House had knowledge that its network was being used for infringement of Plaintiffs’ copyrighted

  works on a massive scale, and also knew of specific subscribers engaged in such repeated and

  flagrant infringement. Nevertheless, Bright House facilitated, encouraged, and materially

  contributed to such infringement by continuing to provide its network and the facilities necessary

  for its subscribers to commit repeated infringements. Bright House had the means to withhold that

  assistance upon learning of specific infringing activity by specific users but failed to do so.

         Answer:         Paragraph 101 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 101

  of the First Amended Complaint.

         (94) 102.       By purposefully ignoring and turning a blind eye to its subscribers’ flagrant

  and repeated infringements, Bright House knowingly caused and materially contributed to the

  unlawful reproduction and distribution of Plaintiffs’ copyrighted works, including but not limited

  to those listed on Exhibits A and B hereto, in violation of Plaintiffs’ exclusive rights under the

  copyright laws of the United States.



                                                   38
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 39 of 76 PageID 3975




         Answer:          Paragraph 102 contains legal conclusions to which no response is required.

  Defendant admits that Exhibits A and B to the First Amended Complaint purport to list the works

  alleged by Plaintiffs in this action. To the extent a response is required, Defendant denies the

  allegations contained in Paragraph 102 of the First Amended Complaint.

         (95) 103.        Each infringement of Plaintiffs’ copyrighted sound recordings and musical

  compositions constitutes a separate and distinct act of infringement. Plaintiffs’ claims of

  infringement against Bright House are timely pursuant to tolling agreements.

         Answer:          Paragraph 103 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 103

  of the First Amended Complaint.

         (96) 104.        The foregoing acts of infringement by Bright House have been willful,

  intentional, and purposeful, in disregard of Plaintiffs’ rights. Indeed, the sound recordings on

  Exhibit A and the musical compositions on Exhibit B represent works infringed by Bright House’s

  subscribers after those particular subscribers were identified to Bright House in multiple

  infringement notices.

         Answer:          Paragraph 104 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 104

  of the First Amended Complaint.

         (97) 105.        As a direct and proximate result of Bright House’s willful infringement of

  Plaintiffs’ copyrights, Plaintiffs are entitled to statutory damages, pursuant to 17 U.S.C. § 504(c),

  in an amount of up to $150,000 with respect to each work infringed, or such other amount as may

  be proper under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, Plaintiffs shall be entitled




                                                    39
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 40 of 76 PageID 3976




  to their actual damages pursuant to 17 U.S.C. § 504(b), including Bright House’s profits from the

  infringements, as will be proven at trial.

         Answer:         Paragraph 105 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 105

  of the First Amended Complaint.

         (98) 106. Plaintiffs also are entitled to their attorneys’ fees and full costs pursuant to 17

  U.S.C. § 505.

         Answer:         Paragraph 106 contains legal conclusions to which no response is required.

  To the extent a response is required, Defendant denies the allegations contained in Paragraph 106

  of the First Amended Complaint.

                           Count II – Vicarious Copyright Infringement

         (99) 107.       Plaintiffs repeat and re-allege each and every allegation contained in

  paragraphs 1 through 98 as if fully set forth herein.

         Answer:         Plaintiffs’ Count II for Vicarious Copyright Infringement has been

  dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

         (100) 108.      Bright House and its subscribers have no authorization, license, or other

  consent to exploit the copyrighted sound recordings or musical compositions at issue.

         Answer:         Plaintiffs’ Count II for Vicarious Copyright Infringement has been

  dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

         (101) 109.      Bright House’s subscribers, using Internet access and services provided by

  Bright House, have unlawfully reproduced and distributed via BitTorrent or other P2P services

  thousands of sound recordings and musical compositions of which Plaintiffs are the legal or

  beneficial copyright owners or exclusive licensees. The copyrighted works infringed by Bright



                                                   40
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 41 of 76 PageID 3977




  House’s subscribers, which have been registered with the U.S. Copyright Office, include those

  listed on Exhibits A and B, and many others. The foregoing activity constitutes direct infringement

  in violation of 17 U.S.C. §§ 106 and 501, et seq.

         Answer:         Plaintiffs’ Count II for Vicarious Copyright Infringement has been

  dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

         (102) 110.      Bright House is liable as a vicarious copyright infringer for the direct

  infringements described above. Bright House has the legal and practical right and ability to

  supervise and control the infringing activities that occur through the use of its network, and at all

  relevant times has had a financial interest in, and derived direct financial benefit from, the

  infringing use of its network. Bright House has derived an obvious and direct financial benefit

  from its customers’ infringement. The ability to use Bright House’s high-speed Internet facilities

  to illegally download Plaintiffs’ copyrighted works has served to draw, maintain, and generate

  higher fees from paying subscribers to Bright House’s service. Among other financial benefits, by

  failing to terminate the accounts of specific repeat infringers known to Bright House, Bright House

  has profited from illicit revenue through user subscription fees that it would not have otherwise

  received from repeat infringers, as well as new subscribers drawn to Bright House’s services for

  the purpose of illegally downloading copyrighted works. The specific infringing subscribers

  identified in Plaintiffs’ notices, including the egregious infringers identified herein, knew Bright

  House would not terminate their accounts despite receiving multiple notices identifying them as

  infringers, and they remained Bright House subscribers to continue illegally downloading

  copyrighted works.

         Answer:         Plaintiffs’ Count II for Vicarious Copyright Infringement has been

  dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.



                                                   41
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 42 of 76 PageID 3978




            (103) 111.    Bright House is vicariously liable for the unlawful reproduction and

  distribution of Plaintiffs’ copyrighted works, including but not limited to those listed on Exhibits

  A and B hereto, in violation of Plaintiffs’ exclusive rights under the copyright laws of the United

  States.

            Answer:       Plaintiffs’ Count II for Vicarious Copyright Infringement has been

  dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

            (104) 112.    Each infringement of Plaintiffs’ copyrighted sound recordings and musical

  compositions constitutes a separate and distinct act of infringement. Plaintiffs’ claims of

  infringement against Bright House are timely pursuant to tolling agreements.

            Answer:       Plaintiffs’ Count II for Vicarious Copyright Infringement has been

  dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

            (105) 113.    The foregoing acts of infringement by Bright House have been willful,

  intentional, and purposeful, in disregard of Plaintiffs’ rights. Indeed, the sound recordings on

  Exhibit A and the musical compositions on Exhibit B are works infringed by Bright House’s

  subscribers after those particular subscribers were identified to Bright House in multiple prior

  infringement notices.

            Answer:       Plaintiffs’ Count II for Vicarious Copyright Infringement has been

  dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

            (106) 114.    As a direct and proximate result of Bright House’s willful infringement of

  Plaintiffs’ copyrights, Plaintiffs are entitled to statutory damages, pursuant to 17 U.S.C. § 504(c),

  in an amount of up to $150,000 with respect to each work infringed, or such other amount as may

  be proper under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, Plaintiffs shall be entitled




                                                    42
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 43 of 76 PageID 3979




  to their actual damages pursuant to 17 U.S.C. § 504(b), including Bright House’s profits from the

  infringements, as will be proven at trial.

          Answer:         Plaintiffs’ Count II for Vicarious Copyright Infringement has been

  dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

          (107) 115.      Plaintiffs are further entitled to their attorneys’ fees and full costs pursuant

  to 17 U.S.C. § 505.

          Answer:         Plaintiffs’ Count II for Vicarious Copyright Infringement has been

  dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

                                        PRAYER FOR RELIEF

          Plaintiffs’ Prayer for Relief contains legal conclusions to which no response is required. To

  the extent a response is required, Defendant denies any allegations associated with Plaintiffs’

  Prayer for Relief and denies that Plaintiffs are entitled to any relief.

                                       JURY TRIAL DEMAND

          Defendant demands a trial by jury of all issues that are so triable.

                                     AFFIRMATIVE DEFENSES

          Defendant identifies the following affirmative defenses and reserves the right to raise

  additional defenses as discovery proceeds. Defendant does not assume the burden of proof on any

  issue, however characterized, on which it does not bear that burden. Defendant reserves all

  affirmative defenses not stated herein under Rule 8(c) of the Federal Rules of Civil Procedure and

  any other defense at law or in equity that may now exist or in the future be available based upon

  discovery and further investigation in this case.

          1.      The First Amended Complaint, and each cause of action within it, fails to state facts

                  sufficient to constitute a cause of action.



                                                      43
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 44 of 76 PageID 3980




        2.    The statute of limitations bars Plaintiffs’ claims to the extent Plaintiffs allege

              infringements that accrued outside the three-year limitations period, including any

              applicable tolling of the limitations period.

        3.    Plaintiffs’ claims are barred or its damages are limited because any infringement

              was innocent.

        4.    Plaintiffs’ claims are barred because Defendant’s ISP service has substantial non-

              infringing uses.

        5.    The doctrine of unclean hands bars Plaintiffs’ claims.

        6.    Plaintiffs’ claims are barred by the doctrine of copyright misuse.

        7.    Plaintiffs’ failure to mitigate damages bars their claims or limits their recovery.

        8.    The doctrine of estoppel bars Plaintiffs’ claims.

        9.    To the extent that Plaintiffs rely upon copyright registrations that rest upon

              misstatements or fraud, those misstatements or fraud bar Plaintiffs’ claims.

        10.   To the extent that Plaintiffs failed to comply with renewal, notice, and registration

              requirements and/or other formalities, Plaintiffs’ claim are barred.

        11.   Plaintiffs’ claims are barred, in whole or in part, by the First Amendment to the

              U.S. Constitution, including but not limited to the application of 17 U.S.C § 512(i)

              to service providers protected by 17 U.S.C § 512(a).

        12.   Application of the Copyright Act and its remedies to the conduct of Defendant and

              its customers as Plaintiffs request would violate due process.

        13.   To the extent that Plaintiffs can establish any underlying direct or secondary

              infringement, Defendant’s liability and Plaintiffs’ remedies are limited because




                                                44
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 45 of 76 PageID 3981




                 Defendant qualifies for “safe harbor” under the Digital Millennium Copyright Act

                 (“DMCA”) 17 U.S.C. § 512(a).

                    COUNTERCLAIMS AND DEMAND FOR JURY TRIAL;
                           INJUNCTIVE RELIEF SOUGHT


         Defendant Bright House Networks, LLC (“Bright House” or “Defendant”), by and through

  its counsel, hereby asserts counterclaims to Plaintiffs’ First Amended Complaint against Plaintiffs 6

  as follows:

  1.     Introduction

         1.      At all times relevant to this case, Bright House was an Internet service provider

  (“ISP”) providing its customers access to the Internet. As part of its ISP services, Bright House

  did not store its subscribers’ content on its servers. Bright House did not host websites that indexed

  infringing files. Bright House did not create or distribute peer-to-peer file-sharing software or other

  file-sharing software. Bright House was not even aware that the alleged acts of infringement were

  committed until after they had concluded. Nevertheless, Plaintiffs seek to impose secondary

  liability on Bright House for alleged copyright infringement by its subscribers—even though

  Bright House’s only role in the alleged infringement was to provide Internet access to these

  subscribers—in an effort to create a substantial new set of liabilities and burdens for ISPs.

         2.      This Court has subject matter jurisdiction over Bright House’s counterclaims

  pursuant to 28 U.S.C. §§ 1331, 1338(a), and 1367. This Court has personal jurisdiction over

  Plaintiffs because Plaintiffs brought this action in this Court and thereby consented to its




  6
    The “Plaintiffs” are the Plaintiffs collectively identified and defined on pages 1-2 of Plaintiffs’
  First Amended Complaint, Dkt. 96-1. Unless otherwise noted, Bright House also adopts all of the
  terms defining the parties used in Plaintiffs’ First Amended Complaint.

                                                    45
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 46 of 76 PageID 3982




  jurisdiction. Venue is proper in this district because Plaintiffs brought this action in this Court and

  thereby consented to venue.

  2.     Factual Allegations

         a.      Bright House’s Business

         3.      Prior to its acquisition by Charter Communications, Inc. (“Charter”) in or around

  June, 2016, Bright House was one of the largest communications companies in the country,

  offering a variety of services, including cable, telephone, and Internet access services.

         4.      Bright House provided Internet service to both residential subscribers and

  businesses. Its high-speed Internet service provided approximately 2.2 million U.S. customers with

  Internet connections in Southern, Midwestern, and Western states. Today, Charter continues to

  serve Bright House’s customers under the Spectrum brand, offering high-speed Internet service to

  some twenty-nine million U.S. customers across 41 states.

         5.      As an ISP, Bright House provided its customers with a gateway to the Internet,

  which was, and still is, virtually indispensable to functioning in the modern world.

         6.      The Internet provides access to a host of services, some of them critical. Individuals

  rely on Internet access to obtain services in the areas of healthcare, employment, education,

  banking, commerce, social interaction, news and entertainment, and many others.

         7.      As the Supreme Court recently emphasized in the case of Packingham v. North

  Carolina, for many people the Internet provides “the principal sources for knowing current events,

  checking ads for employment, speaking and listening in the modern public square, and otherwise

  exploring the vast realms of human thought and knowledge.” 137 S. Ct. 1730, 1737 (2017).

         8.      The critical importance of the Internet has been highlighted in the current COVID-

  19 global pandemic. With much of the country currently under some form of shelter in place



                                                    46
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 47 of 76 PageID 3983




  directive or order, millions of people across the country are reliant on high speed Internet access

  to work, attend classes, receive news and information, and socialize and communicate with friends

  and family.

         9.      Losing Internet access can have devastating consequences for a subscriber.

         10.     As an ISP, Bright House provided connections and enabled connected computers

  to access the Internet.

         11.     Bright House provided Internet access service to its residential subscribers for a flat

  monthly fee.

         12.     Bright House could not remove third-party material from the Internet unless that

  material was stored on Bright House’s own servers. Bright House subscribers were not able to

  store material on Bright House’s own servers. Bright House could not control what its customers

  stored on their own or others’ computers.

         13.     Bright House had no ability to remove or take down infringing content from its

  customers’ computers. Bright House could not restrict, or even detect, the specific content that its

  customers accessed or shared.

         14.     Bright House could not supervise the online activities of its customers. Nor could

  Bright House control its customers’ conduct online. While Bright House could potentially have

  disabled its customers’ ability to access its ISP system, or terminated customers’ accounts entirely,

  that did not give Bright House the ability to control or supervise its customers’ conduct online. For

  example, a Bright House subscriber could have continued to access the Internet through other

  accounts, or through public networks.




                                                   47
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 48 of 76 PageID 3984




         15.        Bright House also could not determine whether one of its subscribers was accessing

  Bright House’s network, or whether someone else was using the Bright House subscriber’s account

  (with or without the subscriber’s knowledge or permission) to do so.

         16.        Bright House did not control the Internet. And, while Bright House’s ISP system

  allowed its subscribers to access the Internet, Bright House’s system was not itself “the Internet.”

         17.        The privacy of its customers was, and remains, of paramount concern to Bright

  House and its successor, Charter. Internet users frequently transmit private and sensitive

  information through ISP networks, and trust their ISP to safeguard their privacy and security.

         18.        Bright House did not (and Charter does not) spy on its customers or monitor their

  Internet traffic. Even if it could have done so—which it could not—it would not. Engaging in

  surveillance in such a fashion would have violated Bright House’s policies, ethics, and corporate

  culture.

         19.        Operating an ISP service—and safeguarding customers and other Internet users—

  entails responding to a number of potential abuses such as security threats, invasion of privacy,

  identity theft, denial of service attacks, botnets or other malware (such as viruses, spyware, and

  worms), spam, fraud, phishing scams, copyright infringement, and a host of others.

         20.        Bright House’s Security and Abuse Team managed issues like these that threatened

  Bright House’s network or customers, as well as other abuses of Bright House’s system. This team

  was tasked with protecting Bright House’s customer-facing networks and services by assessing

  and responding to security threats and attacks, and coordinating threat-mitigation activities with

  the appropriate organizations and external agencies to ensure a safe and secure communications

  infrastructure.




                                                    48
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 49 of 76 PageID 3985




         21.     Among other things, Bright House’s Security and Abuse Team assisted law

  enforcement and cooperated with other ISPs to combat security and privacy threats; addressed

  internal security issues; assisted customers; and processed copyright infringement notices that

  Bright House received from copyright owners and their agents.

         b.      Bright House’s Receipt of Copyright Infringement Notices

         22.     When Bright House received a copyright infringement notice alleging copyright

  infringement had occurred, it reviewed the notice to ensure that it complied with Bright House’s

  policies. Among other things, Bright House required the sender of a copyright infringement notice

  to identify the copyrighted work claimed to have been infringed and to identify the material that

  was claimed to be infringing. Copyright infringement notices also had to comply with Bright

  House’s other policies, including its privacy policy.

         23.     Bright House reserved the right to terminate subscribers and account holders who

  repeatedly infringed copyrights, and Bright House’s policy was to terminate repeat infringers when

  Bright House deemed it appropriate to do so. Bright House informed its subscribers and account

  holders of this policy.

         24.     Bright House could not verify the allegations in infringement notices that it

  received. In particular, Bright House could not verify whether the information in a notice was

  accurate.

         25.     Bright House could not itself detect infringement, and could not determine whether

  infringing content was crossing its network. Bright House could not control, examine, or remove

  material that was on its subscribers’ computers. Even if it could have done so, that would have

  violated Bright House’s policies and violated its users’ privacy.




                                                  49
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 50 of 76 PageID 3986




          26.     Copyright infringement notices that Bright House received for its ISP service

  always referred to acts of alleged infringement that occurred in the past. Bright House could not

  examine the material a customer allegedly made available in the past, detect what the customer

  did with that material, or know whether a subscriber was authorized to possess, reproduce, or

  distribute that material.

          27.     Bright House could not confirm whether the sender of a notice actually owned the

  copyright for an allegedly infringed work, nor whether the sender was authorized to send notices

  on behalf of the true owner. Bright House could not determine the true owner of the copyright for

  an allegedly infringed work.

          28.     Bright House could not control alleged infringement on the Internet. Bright House

  could not supervise or control what its customers store on their computers, and could not locate,

  view, or remove any content that its customers might be uploading, downloading, or accessing

  through Bright House’s ISP service.

          29.     With respect to business customers, terminating an account would have severed

  Internet access for multiple end-users, even if the vast majority of them were innocent of

  infringement. This was particularly the case with business customers that might be regional or

  local ISPs, through which hundreds, thousands, or even tens or hundreds of thousands of

  potentially innocent end-users’ Internet access could be severed due to the alleged acts of a single

  end-user.




                                                  50
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 51 of 76 PageID 3987




         c.         Bright House’s Abuse Tracking System

         30.        In this case, Plaintiffs seek relief for claims of infringement that accrued from

  March 24, 2013 through May 17, 2016 (the “Claim Period”). 7

         31.        During the Claim Period, Bright House received different types of notifications

  concerning its ISP system. This included security notices, notices about system issues, copyright

  infringement notices, and others.

         32.        Prior to and throughout the Claim Period, Bright House utilized a system called

  “ECATS” — the Enterprise Copyright Automation Tools System—to partially automate the

  handling of abuse notifications that Bright House receives. Among other things, Bright House’s

  Security and Abuse Team used ECATS as a tool for processing and addressing copyright

  infringement notices. This allowed Bright House to process, respond to, and address such notices

  more efficiently.

         33.        Automation is important, because manual processing of incoming abuse complaints

  is infeasible for all but the smallest ISP networks in light of the automated techniques used by

  spammers that generate a high volume of abuse complaints. Automation also decreases the risk

  that complaints from copyright owners could get lost in the flood of other abuse complaints.

         34.        ECATS converted copyright infringement notices that met Bright House’s basic

  requirements into “tickets.” ECATS also stored a copy of the copyright notices received (if any)

  per subscriber.




  7
    Plaintiffs allege in the First Amended Complaint that ”the Universal Plaintiffs seek relief for
  claims that accrued on or after March 24, 2013; the Sony Music Plaintiffs and Warner Plaintiffs
  seek relief for claims that accrued on or after April 18, 2013; and the Sony/ATV and EMI Plaintiffs
  seek relief for claims that accrued on or after June 15, 2013.” Dkt. 96-1, ¶ 5 n.1.

                                                   51
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 52 of 76 PageID 3988




         35.        Accepting and processing notices is both time-consuming and costly, requiring

  multiple systems and numerous personnel to work in coordination. Bright House incurred costs in

  connection with undertaking these actions, as well.

         36.        During the Claim Period, Bright House processed notices received from Plaintiffs,

  in accordance with its policies and ECATS procedures, and forwarded those notices to accused

  subscribers, reminding them that infringing copyright violated Bright House’s Acceptable Use

  Policy and emphasizing that they should take immediate action to stop the exchange of any

  infringing material.

         d.         The Copyright Alert System (CAS)

         37.        In July 2011, all of the major record companies and movie studios, along with their

  industry representatives, the RIAA and the Motion Picture Association of America (“MPAA”),

  and five of the largest ISPs in the United States collectively entered into the Copyright Alert

  System Memorandum of Understanding (“CAS MOU”) to establish a “Copyright Alert System”

  (the “CAS”).

         38.        Under the CAS, signatory content owners or their representatives, which included

  the RIAA and MPAA, could send notices of alleged copyright infringement (“ISP Notices”) to

  ISPs. The ISPs would accept and process the ISP Notices.

         39.        If an ISP received an ISP Notice that could be associated with the account of a

  particular ISP subscriber, then the ISP would send a notification—called a Copyright Alert—to

  the subscriber.

         40.        Under the CAS MOU, participating ISPs were required to accept and process only

  a limited volume of ISP Notices. The CAS MOU also provided that a participating ISP could




                                                    52
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 53 of 76 PageID 3989




  temporarily cease processing ISP Notices if it received more than its business processes and

  systems could reasonably address.

         41.     After an ISP had forwarded six Copyright Alerts to a single subscriber, the ISP was

  not required to forward any subsequent Copyright Alerts, regardless of the fact that the subscriber

  might be the subject of multiple, subsequent infringement notices.

         42.     Further, an ISP was not required to forward more than one Copyright Alert to a

  single subscriber within a seven-day grace period, to give an affected subscriber time to review

  each Copyright Alert pertaining to such subscriber’s account and to take appropriate steps to avoid

  receipt of further Copyright Alerts.

         43.     The participating ISPs were required to track the number of notices their

  subscribers received so that the information could be provided to the content owners (or their

  representatives), so that the content owners could institute infringement actions directly against

  the subscribers—not the ISPs.

         44.     The CAS did not require ISPs to terminate subscribers who were repeatedly

  accused of infringement.

         45.     At least some of Plaintiffs are, and during the Claim Period were, well aware of the

  provisions of the CAS MOU.

         46.     On information and belief, all of the Warner Plaintiffs are, or during the Relevant

  Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS MOU.

         47.     On information and belief, all of the Sony Music Plaintiffs are, or during the

  Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS MOU.




                                                  53
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 54 of 76 PageID 3990




         48.     On information and belief, all of the Sony/ATV and EMI Plaintiffs are, or during

  the Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS

  MOU.

         49.     On information and belief, all of the Universal Plaintiffs are, or during the Relevant

  Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS MOU.

         50.     The RIAA was a signatory to the CAS MOU.

         51.     On information and belief, all of the Record Company Plaintiffs were members of

  the RIAA during the Relevant Time Period or were affiliates, subsidiaries, or partners of RIAA

  members. 8

         52.     Bright House was also aware of the CAS MOU during the Relevant Time Period;

  however, Bright House was not a signatory to the CAS MOU.

         53.     On information and belief, one goal of the CAS MOU was to establish industry

  standard practices for entertainment industry copyright owners to submit copyright infringement

  notices to ISPs, and for ISPs to process such notices and inform their subscribers of infringement

  allegations against them.

         54.     Content owners participating in the CAS MOU (including some of Plaintiffs here)

  and participating ISPs (including SBC Internet Services, Verizon Online, Comcast Cable

  Communications Management, CSC Holdings, and Time Warner Cable) established the Center

  for Copyright Information (the “CCI”).




  8
   The “Record Company Plaintiffs” are UMG, Capitol Records, WRI, Atlantic, Bad Boy, Elektra,
  FBR, Nonesuch, Maverick, Rhino, The All Blacks, Warner Music, Warner Records/SIRE, WEA,
  Sony, Arista Music, Arista Records, LaFace, Provident, Sony Latin, Century, Volcano, and
  Zomba, as defined in Paragraph 36 of Plaintiffs’ First Amended Complaint, Dkt. 96-1, ¶ 36.

                                                  54
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 55 of 76 PageID 3991




            55.   An express goal of the CCI was “facilitating the involvement of non-participating

  ISPs in … the Copyright Alert program.”

            56.   In May 2014, RIAA Chairman and CEO Cary Sherman described the CCI as “a

  model for success.” 9 Mr. Sherman lauded “the Alert program and all its accomplishments.” He

  stated that the CAS was “moving the needle,” and acknowledged that as the CAS program

  progressed, “there were fewer and fewer Alerts sent at each level.”

            57.   Further, upon information and belief, early reports noted that merely sending

  notices had a meaningful impact on reducing infringement, as evidenced by the fact that fewer

  subscribers continued to receive subsequent alerts. Further, the CCI believed that the program

  would be effective against the vast majority of subscribers engaged in online infringement and that

  “very few subscribers, after repeated alerts, will persist (or allow others to persist) in the content

  theft.”

            58.   Importantly, the CAS MOU required that the ISPs provide data to the content

  owners and/or their representatives, so that the participants could assess the effectiveness of the

  program.

            e.    Plaintiffs Withdrawal of Works for Which They Sent Copyright Infringement
                  Notices to Bright House

            59.   Upon information and belief, the Record Company Plaintiffs claim to own or

  control the vast majority of music sold in the United States.

            60.   On information and belief, the Record Company Plaintiffs, through their agent the

  RIAA, engaged the services of rights-enforcement company MarkMonitor to monitor and detect




  9
    Cary Sherman, “CCI: A Model for Success,” RIAA.com (May 28, 2014) (available online at
  https://www.riaa.com/cci-a-model-for-success/).

                                                   55
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 56 of 76 PageID 3992




  infringing activity and send notices alleging copyright infringement to Bright House. MarkMonitor

  markets itself as an “antipiracy solution.”

          61.    On March 22, 2019, Plaintiffs sued Bright House for contributory infringement and

  vicarious liability, alleging that Bright House’s subscribers had infringed the copyrights of at least

  11,482 sound recordings and music compositions (the “works in suit”). The works in suit are listed

  on Exhibits A and B to Plaintiffs’ Original Complaint. Dkts. 1-1 (Ex. A) & 1-2 (Ex. B).

          62.    In connection with these allegations, Plaintiffs claimed that they “own and/or

  control in whole or in part the copyrights and/or exclusive rights” in the works in suit. Dkt. 96-1,

  ¶ 71.

          63.    In connection with these allegations, Plaintiffs claimed that between March 24,

  2013 and May 17, 2016, their “representatives … sent hundreds of thousands of statutory

  infringement notices to Bright House, under penalty of perjury,” claiming that Bright House’s

  subscribers infringed the works in suit. Dkt. 96-1, ¶ 2. The Music Publisher Plaintiffs 10 did not

  send any notices, however, as the notices were sent only on behalf of the Record Company

  Plaintiffs’ representative, the RIAA.

          64.    On February 15, 2020, Plaintiffs amended the list of works in suit, removing over

  280 works from this case (the “Dropped Works”).




  10
    The “Music Publisher Plaintiffs” are Plaintiffs UMC, MGB, Universal Music Publishing, AB,
  Publishing Limited, MGB Limited, Z Tunes, MCA Limited, MCA Publishing Limited, Music
  Corp., Musik Edition, Polygram Publishing, Songs of Universal, Warner Chappell, Warner-
  Tamerlane, WC Music, W.C.M., Unichappell, Rightsong Music, Cotillion, Intersong, Chappell,
  Sony/ATV, EMI Al Gallico, EMI April, EMI Blackwood, EMI Colgems, EMI Full Keel, EMI
  Longitude, EMI Entertainment, EMI Jemaxal, EMI Feist, EMI Miller, EMI Mills, EMI U, Famous
  Music, Jobete, Stone Agate, Gems-EMI, and Stone, as defined in Paragraph 69 of Plaintiffs’ First
  Amended Complaint. Dkt. 96-1, ¶ 69.

                                                   56
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 57 of 76 PageID 3993




          65.     The Record Company Plaintiffs dropped 132 sound recordings and the Music

  Publisher Plaintiffs dropped 151 music compositions.

          66.     Upon information and belief, Plaintiffs dropped at least some of these works

  because, contrary to their allegations, they do not “own and/or control in whole or in part the

  copyrights and/or exclusive rights” to the works.

          67.     For many of the Dropped Works, the claimant listed on the U.S. Copyright Office

  registration certificate is an entity other than the formerly asserting Plaintiff. Based on review of

  other publicly available information, these claimant entities appear independent from the formerly

  asserting Plaintiff. On information and belief, each of the Plaintiffs who formerly asserted claims

  for Dropped Works sent infringement notices for those Dropped Works despite lacking the right

  to do so. 11

          68.     On information and belief, Plaintiffs dropped these works only after it became clear

  that they would be required to produce documentation relating to their purported ownership or

  ability to assert the works in suit in this case.

          69.     Despite later dropping these works, the Record Company Plaintiffs, or their agent

  acting on their behalf, nevertheless sent notices to Bright House in connection with the Dropped

  Works, each claiming to “have identified a user … reproducing or distributing an unauthorized




  11
    The following Record Company Plaintiffs formerly asserted claims for Dropped Works: Arista
  Music; Atlantic Recording Corporation; Elektra Entertainment Group Inc.; Sony Music
  Entertainment; UMG Recordings, Inc.; and WEA International Inc. In addition, the following
  Music Publisher Plaintiffs formerly asserted claims for Dropped Works: EMI April Music Inc.;
  EMI Blackwood Music Inc.; Polygram Publishing, Inc.; Rightsong Music Inc.; Songs of Universal,
  Inc.; Sony/ATV Music Publishing LLC; Unichappell Music Inc.; Universal Music - MGB NA
  LLC; Universal Music - Z Tunes LLC; Universal Music Corp.; Universal Music Publishing
  Limited; Universal Music Publishing Inc.; W.B.M. Music Corp.; Warner-Tamerlane Publishing
  Corp.; and WB Music Corp.

                                                      57
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 58 of 76 PageID 3994




  copy of a copyrighted sound recording,” and stating that the recipient of the notice “may be liable

  for infringing activity occurring” on Bright House’s network. The Record Company Plaintiffs

  further claimed in their notices that the targeted user’s “Internet account was used to illegally copy

  and/or distribute copyrighted music over the Internet” and that the notice contained “the details of

  the illegal file-sharing, including the time, date, and a sampling of the music shared.” The Record

  Company Plaintiffs’ notices “assert that the information in the notice is accurate” and that the

  sender had “a good faith belief that this activity is not authorized by the copyright owner, its agent,

  or the law.” The notices further stated “[u]nder penalty of perjury” that “the RIAA is authorized

  to act on behalf of its member companies in manners involving the infringement of their sound

  recordings, including enforcing their copyrights and common law rights on the Internet.”

          70.     While the Music Publisher Plaintiffs did not send any notices for the music

  compositions in suit to Bright House, the Music Publisher Plaintiffs’ infringement claims in this

  case purportedly rely on notices sent by the Record Company Plaintiffs to Bright House, including

  those for the Dropped Works.

          71.     Upon information and belief, at least in connection with the Dropped Works, the

  Record Company Plaintiffs sent notices to Bright House with inaccurate information, including

  but not limited to the misrepresentation that the RIAA was authorized on behalf of Plaintiffs to

  send a notice relating to these allegedly infringed works, that the Record Company Plaintiff on

  whose behalf the notice was sent owned or controlled the work, and that the actions alleged to

  have been taken by Bright House’s subscribers constituted infringement of the Record Company

  Plaintiffs’ rights.

          72.     Upon information and belief, the Record Company Plaintiffs did not own the

  Dropped Works when they sent notices for them.



                                                    58
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 59 of 76 PageID 3995




         73.     Upon information and belief, the Record Company Plaintiffs did not have the right

  to send notices to Bright House for the Dropped Works.

         74.     Upon information and belief, Plaintiffs, as a matter of practice, do not confirm

  whether they “own and/or control in whole or in part the copyrights and/or exclusive rights” to

  works before notices are sent to ISPs, like Bright House.

         75.     After Plaintiffs identified the works in suit, including the Dropped Works, Bright

  House investigated Plaintiffs’ purported ownership or control of the Dropped Works, or whether

  the Record Company Plaintiffs otherwise had the right to send notices to Bright House for them.

         76.     Many of the same record companies and music publishers that are Plaintiffs in this

  case pursued damages in Sony Music Entertainment et al. v. Cox Communications, Inc. et al., Case

  No. 1:18-cv-950 (LO/JFA) (E.D. Va.) (“Sony/Cox”) for certain of the Dropped Works. The jury

  in the Sony case returned a verdict for certain of the Dropped Works in an amount of nearly

  $100,000 per work.

         77.     Yet for many other Dropped Works that had also originally been asserted in

  Sony/Cox, Plaintiffs did drop those works before that case went to trial, further demonstrating

  Plaintiffs’ belief that they did not possess the right to assert infringement claims—or the

  concomitant right to send notices of claimed infringement—for these Dropped Works.

         78.     Many of the same record companies and music publishers that are Plaintiffs in this

  case are also plaintiffs in Warner Records Inc. et al. v. Charter Communications, Inc., Case No.

  1:19-cv-00874-RBJ-MEH (D. Colo.) (“Warner/Charter”). There is substantial overlap in the

  works asserted in that case and in this case. Further, in early January, 2020, the plaintiffs in

  Warner/Charter also dropped a number of asserted works from that case, including many of the

  same Dropped Works in this case.



                                                 59
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 60 of 76 PageID 3996




         79.     In the Warner/Charter case, the plaintiffs’ counsel (who is also counsel for

  Plaintiffs here) could not confirm to the Court either that the Sony/Cox plaintiff record companies

  and music publishers owned or controlled all of the works at issue in that case (including works

  that had been dropped from the Warner/Charter case, but for which the Sony/Cox jury had awarded

  nearly $100,000 per work), or that one of the Sony/Cox plaintiffs was the correct legal entity to

  obtain an award of statutory for each of those works.

         80.     Upon information and belief, Plaintiffs devote substantial resources to protecting

  and exploiting the copyrights they claim to own or control.

         81.     Upon information and belief, at all times, Plaintiffs either had or should have had

  knowledge, or acted with reckless indifference in failing to acquire knowledge, of the status of

  their purported ownership or control of copyrights when they sent infringement notices regarding

  those copyrights, including those at issue in this case.

         82.     Plaintiffs sent millions of notices to ISPs during the Claim Period, including

  hundreds of thousands of notices to Bright House.

         83.     Bright House could not have discovered that Plaintiffs’ notices for the Dropped

  Works were inaccurate until February 15, 2020, after Plaintiffs dropped the Dropped Works from

  this case and Bright House analyzed Plaintiffs’ notice data.

         f.      The Unreliability of Plaintiffs’ Copyright Infringement Notices

         84.     Notices of alleged copyright infringement, such as those Plaintiffs’ agents

  submitted to Bright House, can be unreliable.

         85.     Academic studies have demonstrated that copyright infringement notices sent by

  third parties to online service providers can be unreliable and are prone to error.




                                                   60
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 61 of 76 PageID 3997




          86.     For example, a 2016 study examined a sample of 288,675 copyright infringement

  notices that were sent to online service providers between May 1, 2013 and October 31, 2013 (the

  “Study Period”). Jennifer Urban, et al., Notice and Takedown in Everyday Practice (2016) (“Urban

  Study”). 12

          87.     The Urban Study found that 4.2% of the infringement claims examined “were

  fundamentally flawed because they targeted content that clearly did not match the identified

  infringed work.” Id. at 88. In addition, 28.4% of notices that the Urban Study examined “had

  characteristics that raised clear questions about their validity,” including notices with “multiple

  potential issues.” Id.

          88.     Because some notices in the sample set for the Urban Study contained multiple

  requests, these notices together represented over 100 million claims of infringement. Id.

          89.     The RIAA sent notices that were included in the sample that the Urban Study

  analyzed.

          90.     MarkMonitor sent notices that were included in the sample that the Urban Study

  analyzed.

          91.     The Urban Study also discussed specific instances in which notices sent by

  MarkMonitor were “clear mismatches” between the allegedly infringed work and the online

  content that was allegedly infringing. Id. at 92.




  12
     Available online at
  https://papers.ssrn.com/sol3/Delivery.cfm/SSRN_ID2938642_code1788303.pdf?abstractid=2755
  628&mirid=1 (last visited March 11, 2020).

                                                      61
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 62 of 76 PageID 3998




          92.    The Urban Study also identified MarkMonitor as having sent tens of thousands of

  notices during the Study Period alleging infringement by file-sharing websites that had been “dead

  more than 18 months.” Id. at 89-90.

          93.    Multiple news stories, including stories from the time period covered by Plaintiffs’

  copyright infringement allegations, reported errors in notices sent by MarkMonitor to online

  service providers. For example, in February and March 2013, multiple news stories highlighted

  instances in which MarkMonitor (under the name Dtecnet, a division of MarkMonitor) had sent

  erroneous copyright infringement notices to online service providers.

          94.    A February 3, 2013 news story reported that Dtecnet, a division of MarkMonitor,

  had sent copyright infringement notices to Google, alleging that HBO’s own website contained

  infringing copies of HBO’s copyrighted content. See Ernesto Van der Sar, “HBO Wants Google

  to censor HBO.com,” TorrentFreak (February 3, 2013). 13

          95.    A March 1, 2013 news story reported that Dtecnet, a division of MarkMonitor, had

  misidentified a modified version of an online game as a television show, resulting in issuance of

  multiple inaccurate copyright infringement notices. See Masnick, Mike, “System Used By New

  Six Strikes CAS, Falsely Identifies Game Mods As NBC TV Shows,” TechDirt.com (Mar. 1,

  2013). 14

          96.    MarkMonitor was also the rights-enforcement organization that the CCI employed

  to detect instances of alleged infringement and send ISP Notices in connection with the CAS.




  13
    Available online at https://torrentfreak.com/hbo-wants-google-to-censor-hbo-com-130203/ (last
  visited March 11, 2020).
  14
    Available online at https://www.techdirt.com/articles/20130224/22341022086/system-used-
  new-six-strikes-cas-falsely-identifies-game-mods-as-nbc-tv-shows.shtml (last visited March 11,
  2020).

                                                  62
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 63 of 76 PageID 3999




         97.      In 2012, the CCI hired the firm Stroz Friedberg to perform an assessment of

  MarkMonitor’s technology in connection with the CAS.

         98.      Stroz Friedberg had been retained by the RIAA as a lobbying firm from 2004

  through 2009.

         99.      The Stroz Friedberg assessment contained six recommendations that “focused on

  improving the accuracy and reliability” of MarkMonitor’s processes.

         100.     Among the six recommendations, Stroz Friedberg advised that MarkMonitor

  should augment the file identification trail. Specifically, Stroz Friedberg stated that the manual

  verification process employed by MarkMonitor to review the first instance of an infringed file is

  key to all subsequent steps in its process. Thus, if a file were to be improperly verified as infringing

  as a result of improper or incomplete review, it would generate a ripple effect through the entire

  AntiPiracy workflow, resulting in the collection and generation of notices for non-protected works.

  MarkMonitor advised that the potential exposure of risk at this juncture warranted supplemental

  mitigating measures.

         101.     Stroz Friedberg further explained that MarkMonitor generates notices for allegedly

  infringing files before it has verified those files as authentic. MarkMonitor stated that this process

  results in the collection of thousands of files that are later determined to be not infringing.

  MarkMonitor also stated that this process increases the chances that notices will be generated for

  non-infringing files.

         102.     After it was reported that Stroz Friedberg had been a lobbyist for the RIAA between

  2004 and 2009, the CCI hired a second consulting firm, Harbor Labs, to conduct another review

  of MarkMonitor’s system.




                                                    63
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 64 of 76 PageID 4000




             103.   Harbor Labs did not analyze MarkMonitor’s system directly but relied on test

  results conducted previously by Stroz Friedberg as part of its assessment in 2012.

             104.   On December 5, 2012, Harbor Labs released its evaluation, in which it stated that

  MarkMonitor should undergo consistent and regular end-to-end testing, improve its verification

  approaches, and improve its controls over employee access to sensitive data.

             105.   Specifically, Harbor Labs noted that MarkMonitor does not maintain any precision-

  relevant metrics on its live system. In other words, except in the event that a recipient of a notice

  complains that the notice is inaccurate, MarkMonitor does not maintain any data confirming that

  its notices are accurate.

             106.   On information and belief, Plaintiffs have not directly sued providers of P2P

  software, and/or companies or individuals who host, index, or link to infringing copies of the works

  in suit.

             107.   On information and belief, Plaintiffs have not sued any individual direct infringers

  for the infringements they allege here.

             g.     Plaintiffs’ Rampant and Deceptive Enforcement Conduct

             108.   Upon information and belief, the Record Company Plaintiffs, through their agent

  the RIAA, sent notices of alleged copyright infringement, including during the Claim Period, for

  works they do not own or otherwise have the right to enforce.

             109.   The Record Company Plaintiffs, along with the RIAA, have engaged in a decades-

  long campaign against consumers, threatening expensive, time-consuming litigation, and wielding

  the prospect of outsized and disproportionate statutory damages.

             110.   For example, between approximately 2004 and 2009, the record industry initiated

  over 30,000 lawsuits against individuals who were alleged to have downloaded music on peer-to-



                                                     64
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 65 of 76 PageID 4001




  peer networks. Many of these individuals were forced to settle their suits out of fear, as one court

  observed:

                 There is a huge imbalance in these cases. The record companies are
                 represented by large law firms with substantial resources. The law
                 is also overwhelmingly on their side. They bring cases against
                 individuals, individuals who don’t have lawyers and don’t have
                 access to lawyers and who don’t understand their legal rights.

                 Some category of individuals are defaulted because they read the
                 summons, and they haven’t the foggiest idea what it means and
                 don’t know where to go, so they’re defaulted, and they owe money
                 anywhere from $3,000 to $10,000 as a result of these defaults. 15

         111.    The Record Company Plaintiffs, through the RIAA, exploit and leverage this

  imbalance of knowledge and resources in order to extract settlements from the consuming public.

  Upon information and belief, in order to do so, the Record Company Plaintiffs and/or the RIAA

  exploit sound recordings beyond their legal entitlement.

         112.    The Record Company Plaintiffs’ practices also target ISPs, like Bright House,

  whose subscribers were and are consumers of Plaintiffs’ goods.

         113.    As an ISP, Bright House received Plaintiffs’ notices and, in turn, passed them on to

  its subscribers. In certain circumstances, the subscribers questioned the veracity of the notices. As

  a result, Bright House bore the cost and burden of processing Plaintiffs’ notices and engaging with

  its subscribers to address these and other issues as a result of Plaintiffs’ actions. To the extent the

  notices that Bright House forwarded to its subscribers contained inaccurate allegations of

  copyright infringement, Bright House suffered harm to its reputation and lost the goodwill of its

  subscribers.




  15
    Capitol Records, Inc. et al. v. Noor Alaujan, et al., Case No. 03-11661-NG (D. Mass.), June 7,
  2008 Mot. Hr’g Tr. at 8:14-25.

                                                    65
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 66 of 76 PageID 4002




         114.    To the extent Bright House’s subscribers received notices alleging, without any

  basis, that they infringed copyrights for the Dropped Works, they were and are likely to be harmed,

  and were and are harmed, by being forced to review and respond to such notices. In addition,

  Plaintiffs’ false and inaccurate notices concerning the Dropped Works became part of the record

  of each accused subscriber’s account, which may lead to future adverse actions against the

  subscriber’s account.

         h.      The Works in Suit Constitute a Small Percentage of Each Plaintiff’s Catalogue

         115.    Plaintiffs allege that they collectively own or control the vast majority of music

  exploited in the United States, if not the world.

         116.    Upon information and belief, Plaintiffs collectively own or control many millions

  of works. Yet in this case, they collectively only assert the alleged infringement of 7,271 works.

         117.    For example, of the 63 individually named Plaintiffs, approximately 47 (75%)

  assert fewer than 100 works each. 16 Many of these Plaintiffs assert only a handful of works and,

  in some cases, all from the same album(s) and/or recording artist(s).

         118.    Even the Plaintiffs that assert the highest numbers of works in suit—i.e., UMG

  Recordings, Inc. (approx. 1,476), Sony Music Entertainment (approx. 1,419), and WC Music Corp.

  (approx. 513)—assert infringement of only a very small percentage of the total number of works

  that each of those Plaintiffs owns or controls.




  16
     Four of the Music Publisher Plaintiffs (Chappell & Co. Inc.; EMI Al Gallico Music Corp.; EMI
  Jemaxal Music Inc.; Musik Edition Discoton GmbH; Universal Music Publishing Inc.) apparently
  assert no works after Plaintiffs amended their Exhibits, though it appears that these entities are still
  named Plaintiffs in the First Amended Complaint. See ECF 96-1. If these entities are removed
  from the calculation, it leaves 43 of 59 Plaintiffs, or 73%, that assert fewer than 100 works.

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Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 67 of 76 PageID 4003




         119.    Based on the foregoing, it is clear that Plaintiffs are suing on only a small

  percentage of the total number of works that each owns or controls.

         120.    Of this small percentage of works owned or controlled by each Plaintiff asserted in

  this case, upon information and belief, Plaintiffs have not elected to only sue for infringement of

  their most popular works.

         121.    Of this small percentage of works owned or controlled by each Plaintiff asserted in

  this case, upon information and belief, Plaintiffs have not elected to only sue for infringement of

  their most profitable works.

         122.    Of this small percentage of works owned or controlled by each Plaintiff asserted in

  this case, upon information and belief, Plaintiffs have not elected to only sue for infringement of

  their works that were allegedly infringed most frequently during the Claim Period.

         123.    Plaintiffs instead elected to sue for infringement of those works for which they

  claim a Bright House subscriber infringed after that subscriber was the subject of “multiple” prior

  infringement notices received by Bright House, as they allege. See, e.g., First Amended Complaint,

  ¶¶ 5, 8, 96, 105.

                                            CLAIM ONE

          VIOLATION OF DMCA SECTION 512(f) FOR KNOWINGLY SENDING
         MATERIALLY INACCURATE NOTICES OF ALLEGED INFRINGEMENT

         124.    Bright House repeats the allegations in Paragraphs 1 through 123 and incorporates

  them here.

         125.    Upon information and belief, during the Claim Period, the Record Company

  Plaintiffs sent notices to Bright House that contained inaccurate information, including but not

  limited to the misrepresentation that the RIAA was authorized on behalf of the Record Company

  Plaintiffs to send a notice relating to these allegedly infringed works, that the Record Company


                                                  67
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 68 of 76 PageID 4004




  Plaintiff on whose behalf the notice was sent owned or controlled the work, that the actions alleged

  to have been taken by Bright House’s subscribers constituted infringement of the Record Company

  Plaintiff’s rights, and that the notice sender had a good faith belief that use of the material in the

  manner complained of was not authorized by the copyright owner, its agent, or the law.

         126.    Upon information and belief, the Record Company Plaintiffs knew or should have

  known, or acted with reckless indifference in failing to acquire knowledge, that the notices

  contained inaccurate information before they were sent. For example, the Record Company

  Plaintiffs knew or should have known, or acted with reckless indifference in failing to acquire

  knowledge, that they did not own or control certain of the works identified in notices sent to Bright

  House before they were sent.

         127.    Upon information and belief, the Record Company Plaintiffs became aware of the

  fact that they did not own or control certain works or, alternatively, they did not have the

  permission to send infringement notices relating to certain works. Upon information and belief,

  Record Company Plaintiffs nevertheless sent, or authorized the sending of, notices to Bright

  House, despite this knowledge.

         128.    Upon information and belief, the fact that the Record Company Plaintiffs

  authorized the sending of numerous infringement notices for works that they did not own or control

  evinces a lack of a good-faith belief that the statements in their notices were accurate.

         129.    Upon information and belief, because the Record Company Plaintiffs and their

  agent the RIAA lacked knowledge of the true owner of the copyright for the Dropped Works, they

  could not have formed a good faith belief that the use complained of in notices for those works

  had not been authorized by the copyright owner, its agent, or the law.




                                                   68
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 69 of 76 PageID 4005




         130.    During the Claim Period, Bright House received notices from the Record Company

  Plaintiffs that it could not verify. Specifically, Bright House could not verify whether any of the

  Plaintiffs owned or controlled the work identified in the notice. Bright House also could not verify

  whether the sender of the notice was authorized to send it. Bright House also could not verify

  whether the activity that was alleged in the notice constituted copyright infringement.

         131.    During the Claim Period, Bright House relied on the Record Company Plaintiffs’

  statement that “the information in the notice is accurate,” that the sender was authorized by the

  copyright owners to send notices concerning their works, and that Plaintiffs “have a good faith

  belief that this activity is not authorized by the copyright owner, its agent, or the law.”

         132.    In reliance on these representations, Bright House accepted the notices and

  processed them accordingly. This includes, but is not limited to, accepting each notice into its

  ECATS system, processing it, forwarding it to the referenced subscriber, and taking any further

  necessary action.

         133.    The steps Bright House took in response to receiving Plaintiffs’ inaccurate notices

  could result in the “removal or blocking” of the noticed material.

         134.    Bright House also incurred costs in implementing its ECATS system, including

  when processing Plaintiffs’ inaccurate notices.

         135.    Bright House was also injured when it processed inaccurate notices, causing it to

  forward false accusations to its subscribers, to the extent this created tension with the impacted

  subscribers, negatively affected goodwill, and caused reputational harm to Bright House and its

  successor Charter.

         136.    Bright House was additionally injured through its investigation of the veracity of

  the notices for the Dropped Works, including whether Plaintiffs owned or controlled the works



                                                    69
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 70 of 76 PageID 4006




  when the Record Company Plaintiffs sent notices for them, including to the extent they relate to

  the Music Publisher Plaintiffs’ Dropped Works, or whether the Record Company Plaintiffs had

  the right to send notices to Bright House for the Dropped Works.

         137.    Bright House was further injured through its defense of the allegations concerning

  fallacious notices, including determining whether Plaintiffs owned or controlled the works when

  the Record Company Plaintiffs sent the notices or whether the Record Company Plaintiffs had the

  right to send notices to Bright House for the Dropped Works, including to the extent they relate to

  the Music Publisher Plaintiffs’ Dropped Works.

         138.    Bright House could not have discovered that Plaintiffs’ notices for the Dropped

  Works were inaccurate until February 15, 2020, after Plaintiffs dropped the works from this case

  and Bright House subsequently analyzed Plaintiffs’ notice data.

                                            CLAIM TWO

                              VIOLATION OF THE FLORIDA
                    DECEPTIVE AND UNFAIR TRADE PRACTICES ACT,
                       Fla. Stat. (2019) §§ 501.201 et seq. (“FDUTPA”)

         139.    Bright House repeats the allegations in Paragraphs 1 through 138 and incorporates

  them here.

         140.    Plaintiffs engaged in unconscionable acts or practices, and unfair or deceptive acts

  or practices in the conduct of their trade and commerce, by knowingly or recklessly sending, and

  causing to be sent, false, deceptive, and misleading copyright infringement notices concerning

  works for which they did not own the rights and for which they lacked authorization to send such

  notices. Plaintiffs’ acts and practices offend established public policy, and are immoral, unethical,

  oppressive, unscrupulous or substantially injurious to consumers, and are misleading or likely to

  mislead consumers who were acting reasonably in the circumstances, to the consumers’ detriment.



                                                   70
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 71 of 76 PageID 4007




           141.   In the course of their business, the Record Company Plaintiffs caused their agent,

  the RIAA, to engage in acts and practices that are unfair, unconscionable, deceptive, misleading

  or likely to mislead, false, or fraudulent trade practices, as described above.

           142.   In the course of Bright House’s business, it has been injured and suffered losses as

  a result of the Record Company Plaintiffs’ unfair and deceptive trade practices described above.

  Bright House has suffered actual damage as a result of those practices, including because Bright

  House has incurred costs in implementing its ECATS system and its customer service operations

  in receiving, processing, and forwarding Plaintiffs’ inaccurate notices.

           143.   Bright House was also subject to and aggrieved by Plaintiffs’ unfair and deceptive

  trade practices when Bright House processed those inaccurate notices and thereby forwarded false

  accusations to its subscribers, including to the extent this created tension with the impacted

  subscribers, negatively affected Bright House’s goodwill, and caused reputational harm to Bright

  House.

           144.   Bright House was also aggrieved and suffered loss in the course of its business due

  to the cost and burden of investigating the veracity of Plaintiffs’ inaccurate notices for the Dropped

  Works, including investigating whether Plaintiffs owned or controlled the works at the time(s) the

  Record Company Plaintiffs sent notices for them; investigating the extent to which those works

  related to the Music Publisher Plaintiffs’ Dropped Works; and investigating whether Plaintiffs

  otherwise had the right or were authorized to send notices to Bright House for the Dropped Works.

           145.   Bright House was also aggrieved and suffered loss in the course of its business by

  being required to defend itself against Plaintiffs’ allegations concerning the Dropped Works and

  the inaccurate notices, including determining whether Plaintiffs owned or controlled the works at

  the relevant times, or whether the Record Company Plaintiffs had the right to send notices to Bright



                                                   71
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 72 of 76 PageID 4008




  House for the Dropped Works; and determining the extent to which the sound recordings at issue

  in the notices related to the Music Publisher Plaintiffs’ Dropped Works.

         146.    On information and belief, the Record Company Plaintiffs own or control a

  significant share of the recorded music distributed, sold, and publicly performed in the United

  States. Thus, their conduct in sending inaccurate notices to Bright House impacted actual and/or

  potential consumers of the Record Company Plaintiffs’ goods, services, and property.

         147.    The Record Company Plaintiffs’ actions in sending and causing to be sent

  inaccurate notices to ISPs like Bright House—which notices are in turn forwarded to members of

  the public—significantly impacts these members of the public, who are falsely led to believe that

  they have violated the law, and who are instructed to take actions based on inaccurate notices and

  otherwise coerced to comply with baseless threats based on the inaccurate notices.

         148.    The Record Company Plaintiffs’ conduct aggrieved and caused loss to Bright

  House, and Bright House has been and continues to be irreparably harmed by those actions and

  has no adequate remedy at law.

         149.    Upon information and belief, the Record Company Plaintiffs engaged in the

  conduct described above in bad faith, and their conduct was fraudulent, reckless, willful, knowing,

  and/or intentional.

         150.    Plaintiffs’ conduct described above constitutes unfair or deceptive acts or practices

  in violation of the Florida Deceptive and Unfair Trade Practices Act (FDUTPA), including at least

  violations of Fla. Stat. § 501.204(1).

         151.    Bright House could not have discovered that Plaintiffs’ notices for the Dropped

  Works were inaccurate until February 15, 2020, after Plaintiffs dropped the works from this case

  and Bright House subsequently analyzed Plaintiffs’ notice data.



                                                  72
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 73 of 76 PageID 4009




                                    DEMAND FOR JURY TRIAL

         Defendant hereby requests a trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF

         WHEREFORE, Defendant Bright House Networks, LLC respectfully requests that this

  Court enter judgment as follows:

         a.       Judgment against Plaintiffs and in favor of Bright House on Plaintiffs’ claims set

  forth in the First Amended Complaint and dismissal of such claims with prejudice;

         b.       Judgment against Plaintiffs and in favor of Bright House on each of Bright House’s

  claims as set forth above, i.e., that Plaintiffs have violated 17 U.S.C. § 512(f) and Fla. Stat. (2019)

  §§ 501.201 et seq.;

         c.       For damages, in an amount up to the maximum provided by law, arising from

  Plaintiffs’ violation of 17 U.S.C. 512(f);

         d.       For damages, in an amount up to the maximum provided by law, arising from

  Plaintiffs’ violation of Fla. Stat. §§ 501.201 et seq., including but not limited to Bright House’s

  actual sustained damages and prejudgment interest;

         e.       For Bright House’s attorneys’ fees and court costs, pursuant to Fla. Stat.

  § 501.211(2);

         f.       For a declaratory judgment, pursuant to Fla. Stat. § 501.211(1), that Plaintiffs’ acts

  and practices described above violate the Florida Deceptive and Unfair Trade Practices Act;

         g.       For an injunction, pursuant to Fla. Stat. § 501.211(1), enjoining Plaintiffs from

  submitting notices of claimed infringement to Bright House for works that they do not own rights

  to, including without limitation the Dropped Works;




                                                    73
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 74 of 76 PageID 4010




         h.      For Bright House’s reasonable attorneys’ fees and costs incurred in connection with

  this action pursuant to 17 U.S.C. § 505 and/or § 512(f); and

         i.      Such other and further relief in Bright House’s favor as the Court shall deem just

  and proper.



  Dated: July 22, 2020                                Respectfully submitted,

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                                                 74
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 75 of 76 PageID 4011



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                                       75
Case 8:19-cv-00710-MSS-TGW Document 151 Filed 07/22/20 Page 76 of 76 PageID 4012




                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Answer, Affirmative

  Defenses, and Counterclaims to First Amended Complaint was served by the Court’s CM/ECF

  system on July 22, 2020.



                                                        s/ Erin R. Ranahan
                                                        Erin R. Ranahan




                                             76
